Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 1 of 79 PageID #: 8




                            EXHIBIT A
            Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 2 of 79 PageID #: 9
9/11/2019                                                         Case.net: I9SL-CC01507 - Docket Entries




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                   I9SL-CC01507 - MONICA WEBB ET AL V AESTHETIC PHYSICIANS, P. ET
                                            AL (E-CASE)
    I Case 1' Parties & )ocket YCbarges, Juogmentsr Service T Filings T                             Scheduted           Civil  1' Garnishments!
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                                                Sort Date Entries: O Descending r                         Display Options: FAIl Ent
                                                                           Ascending


  0411012019         Judge Assigned
                      DIV 15
                     Pet Filed in Circuit Ct
                      Petition; Exhibit A; Exhibit B; Exhibit C; Exhibit D; Exhibit E; Exhibit F.
                        On Behalf Of: MONICA WEBB, JENNIFER JEFFRIES, TERRIKAH COOK
                         Associated Entries: 04/10/2019 - Pet Filed in Circuit Ct [
                         Associated Entries: 06/26/2019 - JudgelClerk - Note [ñ1
                         Associated Entries: 06/28/2019 - Summons Req-Serv by Mail                               ft]
                         Associated Entries: 04110/2019 - Pet Filed in Circuit Ct 1ñ]
                      Note to Clerk eFiling
                        Filed By: DAVID GREGORY BROWN
                      Filing Info Sheet eFiling
                         Filed By: DAVID GREGORY BROWN

  04/11/2019         Summons Req-Serv by Mail
                      Letter to Clerk requesting summons issue.
                         Filed By: DAVID GREGORY BROWN
                         On Behalf Of: MONICA WEBB, JENNIFER JEFFRIES, TERRIKAH COOK
                      Note to Clerk eFiling
                        Filed By: DAVID GREGORY BROWN

  04/18/2019          Correspondence Filed
                      STATUTORY NOTIFICATION TO CLERK OF COURT; Exhibit statute.
                        Filed By: DAVID GREGORY BROWN
                        On Behalf Of: MONICA WEBB, JENNIFER JEFFRIES, TERRIKAH COOK

  05/31/2019          Summons Req-Serv by Mail
                      Second Request for Summons in response to Circuit Court filed on 04/10/2019.
                        Filed By: DAVID GREGORY BROWN
                        On Behalf Of: MONICA WEBB, JENNIFER JEFFRIES, TERRIKAH COOK
                      Note to Clerk eFiling
                        Filed By: DAVID GREGORY BROWN

  06/26/2019          Judge/Clerk - Note
                      NEITHER SUMMONS REQUEST HAS THE COMPLETE ZIP CODE FOR AESTHETIC PHYSICIANS.
                      PLEASE E-FILE A CORRECTED SUMMONS REQUEST.
                         Associated Entries: 04/10/2019 - Pet Filed in Circuit Ct iñ
httpsl/www.courts.mo.gov/caseneticases/searchDockets.do                                                                                             1/2
            Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 3 of 79 PageID #: 10
9/11/2019                                                  Case.net: I9SL-CC01507 - Docket Entries



  0612812019          Summons Req-Serv by Mail
                      Corrected Summons Request in response to Judge/Clerk - Note filed on 06/26/2019.
                         Filed By: DAVID GREGORY BROWN
                        On Behalf 01 MONICA WEBB, JENNIFER JEFFRIES, TERRIKAH COOK
                          Associated Entries: 04/1012019 - Pet Filed in Circuit Ct         1ñ1


                      Note to Clerk eFiling
                        Filed By: DAVID GREGORY BROWN

  07/11/2019          Summons Issued-Circuit
                      Document ID: 19-SMCC-6179, forAESTHETIC PHYSICIANS, RC..Summons Attached in PDF Form
                      for Attorney to Retrieve from Secure Case.Net and Process for Service.
                      Summons Issued-Circuit
                      Document ID: 19-SMCC-6180, for BODY CONTOUR CENTERS, LLC.Summons Attached in PDF
                      Form for Attorney to Retrieve from Secure Case.Net and Process for Service.

  08/23/2019          Alias Summons Requested
                      Request for Service in response to Service by Mail filed on 06/28/2019.
                        Filed By: DAVID GREGORY BROWN
                      Note to Clerk eFiling
                        Filed By: DAVID GREGORY BROWN

  08/26/2019          Alias Summons Issued
                      Document ID: I 9-SMCC-8053, for AESTHETIC PHYSICIANS, RC.. Summons Attached in PDF Form
                      for Attorney to Retrieve from Secure Case.Net and Process for Service. Note* You must not forward
                      summons to the St. Louis County Sheriff/Process Server before issue date on summons. Failure to
                      follow these instructions may result in your summons being returned.
 Case.net Version 5.14.0.11                                Return to Top of Paga                         Released 04/25/2019




https:/Iwww.courts.mo.gov/caseneticaseslsearchDockets.do                                                                  2/2
Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 4 of 79 PageID #: 11




                                       IN THE CIRCUIt COURT OF ST. LOUIS COUNTY
                                                  STATE OF MISSOURI


 Monica Webb, Jennifer Jeffries, and
 Terrikah Cook,
                                          Plaintiffs,
                              -V-                          Case No. 19S1-CCO1SO7
 Aesthetic Physicians, P.C.
                                          and
 Body Contour Centers, LIC
                                          Defendants.

                                                        NOTICE

 TO:      Body Contour Centers, LIC
          c¡o CSC-LAWYERS INCORPORATING SERVICE COMPANY
          221 Bolivar Street
          Jefferson City, MO 65101

 The enclosed summons and petition are served pursuant to Missouri Supreme Court Rule 54.16.
 You may sign and date the acknowledgement part of this forn• and return one copy of the completed form to the
 sender within thirty days ofJuiy 16, 2019.
 lfyou are served on behalf of a corporation, unincorporated association, including a partnership, or other entity,
 you must indicate under your signature your relationship to that entity. If you are served on behalf of another
 person and you are authorized to receive process, you mut indicate under your signature your authority.
 If you do not complete and return the form to the sender within thirty days, you or the party on whose behalf you
 are being served may be required to pay any expenses incurred in serving a summons and petition In any other
 manner permltled by law.
 If you do complete and return this form, you or the party on whose behalf you are being served must answer the
 petition within thirty days of the date you sign the acknowledgement below. Ifyou fail to do so, judgment by
 default may be taken against you for the relief demanded in the petition.
 i DECLARE, UNDER PENALTY OF PERJURY, THATTHIS NOTICE WAS MAILED ON

 July 16, 2                         _________


/1d           Brown
 501 Fay St, Ste 201, Columbla,MO 65201

                              ACKNOWLEDGEMENT OF RECEIPT OF SUMMONS AND PETITION

 I declare, under penalty off•ling a false affidavit, that I received a copy ofthe Summons and ofthe Petition in the
 abovecaptioned matter.


 Signature


 Relationship to Entity/Authority Receive Service of Process


  Date Signed
     Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 5 of 79 PageID #: 12




                                            IN THE CIRCUIt COURTOF ST. LOUIS COUNW
                                                            STATE OF MISSOURI


      Monica Webb, Jennifer Jeffries, and
      Terrikah Cook,
                                              Plaintiffs,

                                   -V-                              Case No. 19SL-CCO1SO7
      Aesthetic Physicians, P.C.
                                              and
      Body Contour Centers, LLC
                                              Defendants.


                     .   .         .   ..                        NOTICE

      TO:      Body Contour Centers, LLC
               c¡o CSC-LAWYERS INCORPORATING SERVICE COMPANY
               .221 Bolivar Street
               Jefferson City, MO 65101

      The enclosed summons and petition are served pursuant to Missouri Supreme Court Rule 54.16.
      You may sign and date the acknowledgement part ofthis form and return one copy ofthe completed form to the
      senderwithinthlrty days ofiuly 16, 2019.
      If you are served on behalf of a corporation, unincorporated association, including a partnership, or other entity,
      you must indicate under your signature your relationship to that entity. If you are served on behalf of another
      person and you are authorized to receive process, you mutindicate under your signature your authority.
      lf.you do not complete and return the form to the sender within thirty days, you or the party on whose behalf you
      are being served may be required to pay any expenses incurred in serving a summons and petition in any other
      manner permitted by Jaw
      lfyou do complete and return this form, you orthe party on whose behalfyou are being served must answer the
      petition within thirty days ofthe date you sign the acknowledgement below. If you fII to do so, judgment by
      default may be taken against you for the relief demanded In the petition.
      I DECLARE. UNDER PENAL1YOF PERJURY,THATThIS NOTICEWAS MAILEDON                        .




      JuIy16,2                         __:______
L,
      bavid 3. Brown            ..
      501 Fay St, Ste 201, Columbia,MO 65201 .

                               ACKNOWLEDGEMENT OF RECEIPT OF SUMMONS AND PETITION

       I declare, under penalty offihing a false affidavit, that I receiveda copy ofthe Summons and ofthe Petition In the
       abovecaptioned matter.                               ..




       Signature



       Relationship to Entity/Authority Receive Service of Process


       Date Signed
            Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 6 of 79 PageID #: 13


               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

Judge or Division:                                .                   Case Number: 19SL-CCO1SO7
JOHN D WABNER JR
Plaintiff/Petitioner:                                                 Plaintiff's/Petitioner's Attorney/Address
MONICA WEBB                                                           DAVID GREGORY BROWN
                                                                      501 Fay Street
                                                                      SUITE 201
                                                                vs.   COLUMBIA, MO 65201
Defendant/Respondent:                                                 Court Address:
AESTHETIC PHYSICIANS, P.C.                                            ST LOUIS COUNTY COURT BUILDING
DBA: SONO BELLO                                                       105 SOUTH CENTRAL AVENUE
Nature ofSuit:                                                        CLAYTON, MO 63105
Cc Other Miscellaneous Actions                                                                                                              (Date File Stamp)

                                                                    Summons in Civil Case
     The State ofMissouri to: BODY CONTOUR CENTERS, LLC
                                             Alias:
                                             DBA: SONO BELLO
 do CSC-LAWYERS INCORPORATING
 SERVICE COMPANY
 221 BOLIVAR STREET
 JEFFERSON CITY, MO 65101
       COVETSEAL OF          You are summoned to appear before this court and to file your pleading to the petition, a copy of
                  COUR                       which is attached, and to serve a copy ofyour pleading upon the attorney for Plaintiff/Petitioner at the
            't______'                        above address all within 30 days after receiving this summons, exclusive ofthe day ofservice. Ifyou fail to
              :    .-
                             )-              file your pleading, judgment by default may be taken against you for the relief demanded in the petilion.
                                                   SPECIAL NEEDS: Ifyon have special needs addressed by the Americans With Disabilities Act, please
                         '                  notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADAcourts.mo.gov,
                                            or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
         ST. LOUIS COUNTY                   proceeding.
                                                                                                                      9
                                               11-JUL.2019                                                                       s
                                                Date                                                                            Clerk
                                             Further Information:
                                             LC
                                                                      Sheriffs or server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date ofissue.
     I certif that I have served the above summons by: (check one)
     D   delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     D   leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
          _____________________________________________a person ofthe Defendant's/Respondent's family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
     D   (for service on a coiporation) delivering a copy ofthe summons and a copy ofthepetition to
                                                                                    (name) ________________________________________________(title).

     E: other
    Served at                                                                                                                                       (address)
    in                                                 (County/City ofSt. Louis), MO, on_______________________ (date) at _________________(time).

                             Printed Name ofSheriffor Server                                                      Signature ofSheriffor Server
                                           Must be sworn before a notary public if not served by an authorized officer:
                                           Subscribed and sworn to before me on_____________________________________ (date).
              oea!)
                                           My commission expires:
                                                                                 Date                                             Notary Public




OSCA (7-99) SM3O (SMCC) For Court Use Only: Document ID# 19-SMCC-6l80                   I   (Civil Procedure Form No. 1, Rules 54.01 -54.05,
                                                                                                                  54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
         Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 7 of 79 PageID #: 14

    Sheriff's Fees, if applicable
    Summons                      S_________________
    Non Est                      $______________
    Sheriff's Deputy Salary
    Supplemental Surcharge       $     10.00
    Mileage                      $_________________ (        miles c $.______ per mile)
    Total                        $____________
    A copy ofthe summons and a copy ofthe petition must be served on each DefendantlRespondent. For methods ofservice on ali classes of
    suits, see Supreme Court Rule 54.




OSCA (7-99) SM3O (SMCC) For Court Use Only. Document lD# 19-SMCC-6180   2   (Civil Procedure Form No. 1, RuLes 54.01 - 54.05,
                                                                                                  54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
         Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 8 of 79 PageID #: 15

                            THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                   Twenty First Judicial Circuit


                         NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the.parties before a trial takes place. .This is often true even when
the parties initially believe that settlement is not possible.                       A seUlement reduces the expense and
inconvenience of litigation. lt also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties saille
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
inthe course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice
   You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures
   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the aneutraI who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a ne–tral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.
   (2) Mediation: A process in whiph a neutral third party facilitates communication between th‚ parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73


 OSCA (7-99) SM3O (SMCC) For Courz Use Only: Document ID# 19-SMC-618O   3   Civi1 Procedux FormNo. 1, Rules 54.0! -54.05,
                  .
                                                                                                 54. 13, and 5420; 506.120 - 506.140, and 506.150 RSMo
           Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 9 of 79 PageID #: 16

   (3) Early Neutral Evaluation ("ENE"): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative trengths and weaknesses of their positions. While this confidential environment provides an
opportu!)ity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

   (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

  .
    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the "trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

      the parties agree to use an alternative dispute resolution procedure, they must decide what type of
      If

procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitteq by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

      A copy of the listmay be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Cl…yton, Missouri 63105.                                                   The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




 CCADM73                                                                     .




  OSCA (7-99) SM3O (SMCc ForCourt Use Only: Document IDI! 19-SMCC-6180   4   (Civil Procedure Form No. 1, Rules 54.01 -54.05,
                                                                  .                                54.13, and 54.20; 506.120 -506.140, and 506.150 RSMo
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                                                                    i 9SLCC01 507   a
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                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI                                    O)

                                                                                    o
     Monica Webb, Jennifer Jeffries, and                                            Cl)


                                                                                    C)
     Terrikah Cook,                                                                 o
                   Plaintiffs,

                      -V-                    Case No.                               -o
     Aesthetic Physicians, P.C.
     d/b/a "Sono Bello,"                                                            o
                      and                                                           o
                                                                                    CD
     Body Contour Centers, LLC                                                      o
     d/b/a "Sono Bello,"
                                                                                    <D
                  Defendants.                                                       -o


                                      PETITION

       On behalf ofthemselves, and as putative class representatives, Plaintiffs

    plead the following original claims under the Missouri Merchandising

    Practices Act (Mo. Rev. Stat. Chapter 407).

                         Summary and Nature ofthe Action
       1. Defendants, doing business as "Sono Bello," have sold mbre than

    135,000 surgicalprocedures …ndcurrently sell 10% ofall liposuction surgery

    purchased in the United States.

       2. Defendants' marketing ofSono Bello's liposuction surgery is deceptive

    and violates the Missouri Merchandising Practice Act in that: (i) Defendants

    falsely represent that the surgery is performed using "FDA approved" laser

    liposuction systems; (ii) Defendants falsely represent th„t Sono Bello's

    liposuction systems have passed the most stringent level ofFDA scientific
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                                                                                      -n

    review; and (iii) Defendants create the false pretenses that the FDA has          CD



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                                                                                     r-
    reviewed evidence derived from clinical trials of Sono Bello's Iiposuction        o
                                                                                      C
                                                                                      D)
                                                                                      C,
    systems (including device failures, patient complaints, complications, and       o
                                                                                     C


    adverse reactions) and that the FDA has determined that this Švidence is         -C)

                                                                                     -L
                                                                                     o
    $ufficient to assure the public that Sono Bello's liposuction systems are safe
                                                                                     o
                                                                                     -a
                                                                                     (D

    and effective for laser assisted liposuction. As a result ofthis deceptive
                                                                                     (D
    marketing, numerous persons have purchased elective liposuction surgery          V

    from Sono Bello that was not as advertised, that involved concealed risks, and

    that would not have been purchased if Defendants had truthfully disclosed

    that Sono BelloTs liposuction systems are not FDA approved.

       3. For themselves and for certain other consumers who have purchased

    Sono Bello liposuction surgery, Plaintiffs seek an injunction, damages

    equivalent to a refund of all charges paid, punitive damages, and a statutory

    a1Ardof attorneys' fees.

                                         Parties
       4. Defendant Aesthetic Physicians, P.C. ("Aesthetic Physicians") is an

    Arizona professional corporation.

       5. Defendant Body Contour Centers, LLC ("Body Contour Centers") is a

    Delaware limited liability company.
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        6. Plaintiffs Monica Webb, Jennifer Jeffries, and Terrikah Cook are Missouri

     residents who purchased laser assisted liposuction surgery marketed and sold

     by Defendants doing business jointly under the trade name "Sono Bello."

                            FDA-Related Background Facts
        7. Since May 28, 1976, the U.S. Food and Drug Administration (the "FDA")

     has regulated all new medical devices distributed in the United States. To be

     distributed lawfully, a non-exempt medical device must qualify for

     distribution under either ofthe FDA's two distinct reguIato     processes: (i)

     "PremƒrketAppival" pursuantto 21 CFR 814; or "Prernarket Notification"

     pursuantto 21 CFR8O7 Subpart E.

        8. Premarket Approval (21 CFR 814) is a stringent review process that

     requires a premarket approval application, successful clinical trials conducted

     on human subjects, scientific data analysis (including analysis of device

     failures, patient complaints, complications, and adverse reactions), and

     inspections by the FDA's Office of Compliance. Sufficient valid scientific

 .
     evidence must be submittedto assure that the medical device is safe and

     effective for its intended use. Ifth.e manufacturer or sponsor receives a letter

     from the FDA stating that its premarket approval application has been

     approved, it is thereafter lawful to promote the device as "FDA-approved."
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         9. Premarket Notification (21 CFR 807 Subpart ) requires the filing of a

      510(k) notification of intent to market a medical device at least 90 days in

      advance. Clinical trials, FDA inspections, scientific data analysis, and FDA

      review of scientific evidence are not required. A favorable 5 01(k) decision,

      which typically occurs in less than 90 days, clears the manufacturer or

      sponsor of a medical device to market the device subject to the FDA's

      prohibitions against misbranding, including a specific prohibition against

      making any representation that implies official approval ofthe device.

                     Laser Assisted Liposuction Background Pacts
         10.   The liposuction surgery at issue in this action is performed using a

      workstation that includes a high-intensity laser, a laser fiber, and a cannula (a

      "laser liposuction system"). The surgery is properly kn‡rn by various names,

      including laser assisted lipolysis, laser assisted liposuction, and laser assisted

      tumescent lip osuction.

         11.   In 1991, Heraeu's Lasersonics sponsored a clinical trial of laser

      liposuction under an FDA-appro'cied prcitocoL The clinical trial was intended

      to support: a premarket approval application. The benefit ofthe laser was not

      significantly demonstrated by the clinical trial, and FDA approval was not
  .

      obtained.
Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 14 of 79 PageID #: 21




       12.   On or about August 6, 2006, Cynosure, Inc. submitted a 510(k)

    premarket notification for an Nd:YAG laser. Less than three months later, on

    October 31, 2006, the FDA cleared Cynosure to market the Nd:YAG laser for

    laser lipolysis, subject to the FDA's prohibitions against misbranding (e.g.,

    implying FDA approval).

       13.   Between 2007 and the present, several companies have obtained

    FDA clearances to‹narket devices for laser assisted lipolysis, resulting in the

    marketing oflaser liposuction systems under various trade names, including

    SmartLipo, CoolLipo, ProLipo, LipoLite, Lipotheme, SlimLipo, SmoothLipo,

    SmartLipo MPX, SmartLipo Triplex, TriSculpt, and TriScuipt E/X.

       14.   No laser liposuction system has ever successfully completed the

    FDA's Premarket Approval process (21 CFR 814).

       15.   There is no laser liposuction system that can be lawfully marketed in

    the United States as "FDA approved."

                             The Sono Bello Joint Venture
       16.   On Febiiiary 25, 2012, Aesthetic Physicians, PC. and Body Contour

    Centers, LLC (collectively, "Sono Bello" or "Defendants") formed a joint

    venture for the purpose of marketing and selling cosmetic and plastic surgery,
Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 15 of 79 PageID #: 22

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    including lip osuction, using the registered service mark SONO BELLO.1 The                    Q.

                                                                                                  C/)



    joint venture operates pursuant to a "Services Agreement" with a 10-year

    term.                                                                                         I

         17.   Sono Bello markets and sells laser assisted liposuction at •utpatient              -o
                                                                                                  -C

                                                                                                   1.

                                                                                                  o
    medical facilities in various states, including a facility located at 845 N. New              o
                                                                                                  (O

    Ballas Court, Suite 360, Creve Coeur, Missouri ("Sono Bello St Louis"), and                   Q
                                                                                                  (D

    including a facility located at 10787 Nail Ave, Building 3, Suite 210, Overland

    Park, Kansas ("Sono Bello Kansas City").

         18.   At all times material to this action, Sono Bello has published a

    website .accessjble at www.sonobello.com (the "Sono Bello website")

         19.   Sono Bello has used the Sono Bell website to market and sell laser

    assisted liposuction to. Missouri residents since at least March 1, 2012, when

    Sono Bello began promoting a "Fly In" program whereby Sono Bello offered to

    selilaser assisted liposuction to Missouri residents atvarious locations

    "within a short flight" of Missouri.                                                     e.



         20.   Sono Bello has used Sono Bello Kansas Cityto marketlaser assisted

    liposuction to Missouri residents since at least February 24, 2013.




    i   further mentions ofSono Bello refer to Defendants acting collectively as the joint
        1J


    venture known as Sono Bello."
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       21.   Sono Bello has used Sono Bello St. Louis to market laser assisted

    liposuction to Missouri residents since at least February 4, 2013 and to sell

    laser assisted liposuction in Missouri since at least December 24, 2013.

       22.   Sono Bello markets and sells laser assisted liposuction using the

    registered service marks TRISCULPT and TriScuipt E/X and using various

    marketing terms including "laser lip¢suction" and "body contouring."

       23.   Sono Bello previously marketed and sold laser assisted liposuction.

    using the trade names LipoLite and SmartLipo.

       24.   All laser liposuction surgery marketed or sold by Sono Bello has been

    performed using a laser liposuction system (or workstation) that was not

    FDA-approved for laser liposuction or any other medical use.

         Defendants' Acts Declared Unlawful by Mo Rev. Stat. 407.020
       25.   Asshown more fullybelow: (i)Defendants have engaged ina

    consist patternof deception and falsity in the marketing and sale of laser

    assistedJiposuction; (ii) Defendants are presently violating Mo. Rev. Stat .

    407.020; and (iiij each Defendant was'violating Mo. Rev. Stat. 407.020 at any

    point and at all points since at least March 1, 2012.

    Deceptive -False Medical Consent Forms

       26.   Beginning on or before February 14, 2014 and continuing until at

    least September 20, 2017, all ofSono Bello's liposuction customers have been
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    requested to read, and have been required to date and sign, standardized

    medical consent paperwork that contains the represe¤tations made in Exhibit

    A, including the representation that the laser assisted liposuction offered for

    sale by Sono Bello is performed using an "FDA-approved" laser liposuction

    system. The contents of Exhibit A aie adopted into this pleading by reference.

       27.   [On information and belief:] Since atleast March 1, 2012, all of Sono

    Bello's liposuction customers have been requested to read, and have been

    required to date and sign, paperwork containing representations substantially

    similar to the representations made in Exhibit A, includffig the representation

    that the laser assisted liposuction offered for sale by Sono Bello is performed

    using an "FDA-approved" laser liposuction system.

    Deceptive -False Company WebsŒte

       28.   Beginning as early as October 20, 2009, and continuing until at least

    October 5, 2011, Sono Bello used the Sono Bello website,and the URL

    http://sonobello.com/procedures/laser-liposuction/, to disseminate to the

    general public the information attached as Exhibit B, including

    representations that: (i) LipoLite is an FDA-approved micro-laser

    liposuction system; (ii) SmartLipo is an FDA-approved micro-laser

    liposuction system; and (iii) SmartLipo technology obtained FDA approval in

    2006. The contents ofExhibit B are adopted into this pleading by reference
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    Deceptive / False Internet Advertising

       29.     As recently as March 27, 2017, Sono Bello used the website

    www.laserlipoguide.com to represent to the general public the information

    attached as Exhibit C, including representations that: (i) all liposuction

    systems used by Sono Bello are FDA approved; and (ii) TriScu1pt'', LipoLit&,

    and Smarthpo are FDA-approved liposuction systems. The contents of

    Exhibit C are adopted into this pleading by reference.

    Violations

       30.     As alleged in the preceding five paragraphs, Defendants have

    engaged in a practice of falsely representing that the liposuction surgery sold

    by Sono Bello is performed using FDA-approved laser liposuction systems.

             (i) This practice has the tendency and capacity to mislead and deceive

       ¨onsumers concerning whether the FDA has determined the safety and

       effectiveness of Sono Bello's liposuction systems under the FDATs

       PremarketApprov l process and whether Sono Bello's liposuction systems

       have passed the most stringent level of FDA scientific review; this practice

       tends to create a false impressidn that these things have occurred; and as

       such, this practice is an act, use, and employment by Defendants of

       deception in violation ofMo. Rev. Stat. 407.020 and 15 CSR 60-9.020;
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          (ii) This practice involves falsehood, deception, breach of legal and

       equitable duty arising under 21 CFR 807.97, it was injurious to Plaintiffs

       and the proposed class members, and as such it is fraud in violation of Mo.

       Rev. Stat. 407.02015 CSR 60-9.040.

          (iii) Defendants' representation that the liposuction surgery sold by

       Sono Bello is performed using FDA approved laser liposuction systems is

      an untrue statement of material fact in connection with the advertisement

      of Sono Bello's liposuction surgery, and as such it was and is

       misrepresentation in violation ofMo. Rev. Stat 407.020 and 15 CSR 60-

       Xai:isi

          (iv) Defendants' representation that the liposuction surgery sold by

       Sono Bello is performed using FDA approved laser liposuction systems is

       an assertion by Defendants, in connection with the advertisement of

       liposuction surgery, that Defendants intend to induce consumers to

       purchase liposuction surgery, Defendants have always known that the

       assertion is not.in accord with the facts, and as such, the representation is

       and was misrepresentation in violation afMo. Rev. Stat 407.020 and 15

       CSR 60-9.100
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                                 Ascertainable Loss
       31.   Sono Bell&s conduct, as described above, tricked and misled

    consumers, including Plaintiffs, to wrongly believe that Sono Bello's surgeons

    use FDA-approved laser liposuction systems.

       32.   Sono Bell&s conduct, as described above, tricked and misled

    consumers, including Plaintiffs, to wrongly believe that Sono Bello's laser

    liposuction systems have successfully completed FDA-reviewed clinical trials

    studying safety, effectiveness, device failures, complications, and adverse

    reactions.

       33!   Sono Bello's conduct, as described above, tricked and misled

    consumers, including Plaintiffs, to wrongly believe that Sono Bello's laser

    liposuction systems have successfully completed the FDA's Premarket

    Approval process pursuantto 21 CFR 814 and have obtained official FDA

    approval for the intended use oflaser assisted liposuction.

       34.   The truth ofthe mattersset forth in the three preceding paragraphs

    have been misrepresented to consumers (including Plaintiffs and the

    proposed class members) as a result ofthe use and employment by

    Defendants ofthe unlawful methods, acts, and practices set forth in this

    pleading, and all consumers who have purchased liposuction from Sono Bello

    have suffered benefit-of-the-bargain damages as a respjl.
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         35.   The surgery that Plaintiffs and the proposed class members                  (D



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      purchased was worth less than thesurgery they thought they had purchased
                                                                                           (n

                                                                                           C)
      had Sono Bello's representations been true.                                          o


         36.   Sono Bello's laser assisted liposuction surgery is essentially          -



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      worthless.
                                                                                           o
               Statute of Limitations Issues as to Certain Clƒss Members                   Q
                                                                                           (D
         37.   Because Sono Bello sells liposuction surgery to consumers within a

      physician-patient relationship, it is reasonable for consumers to rely on

      information contained inmedical consent forms to determine the truth

      concerning the surgery they are purchasing from Sono Bello.

         38.   It would be unreasonable to require a consumer, in addition to

      consulting with a physician duriig the medical consent process, to make an
  .
      independent investigation to ascertain whether the physician or a medical

      consent form presentedby the physician misrepresents the liposuction

      surgery sold by Soho Bello.

         39.   As set forth aboy‚, Sono Bello has disseminated false information

      about the liposuction surgery that it sells, such that a consumer who attempts

      to make an investigation to ascertain whether a physician has misrepresented

      the surgery will be tricked and misled.
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           40.   For the purposes afMo. Rev. Stat.   516.280, Defendants' unlawful

      acts, as alleged throughout this pleading, are improper acts that have

      prevented the commencement of this action by preventing consumers from

      ascertaining the benefit-of-the-bargain damages alleged in this pleading

           41.   Consumers do not know and are not capable of discovering the truth

      ofthe matters set forth in this pleading.

           42.   A consumer cannot reasonably ascertain the true value of the

      liposuction surgery sold by Sono Bl1o.

           43.   Defendants' conduct, as described above, has prevented consumers

      from i¤king indj,endent inquiry about the clinical testing, safety,

      effectiveness, device failures, complications, and adverse reactions associated

      with the laser liposuction systems used by Sono Bello.

                                   Class Action Allegations
           44.   Pursuantto Mo. Rev. Stat.. 417.025.2, Plaintiffs institute this action

      as representatives ofa class ofpersons (the "proposed class") consisting of: (i)

      all persons who have purchased laser assisted liposuction at Sono Bello St.
  .



      Louis; and (ii) all Missouri residents who have purchased laser assisted

      ilposuction at any other Sono Bello facility at any time on after March 1, 2012.

       .   45.   Excluded from the proposed class are: Defendants, including any

      parent, subsidiary, affiliate, or controlled person of a Defendant; Defendants'
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      officers, directors, agents, and employees; the judicial officers assigned to this

      litigation; and members of their staffs and immediate families. Also excluded

      from the proposed class are those claiming they have suffered a personal

      injury as a result of undergoing laser assisted liposuction sold by Sono Bello.

         46.     Plaintiffsspecffically exclude from the proposed class action all

      damages, losses, and other relief arising from personal injuries caused by

      laser assisted liposuction sold by Sono Bello. The class action seeks only

      economic and injunctive reliefto which class members are entitled under the

      MMPA.

         47.     The proposed class is so numerous that joinder of all members is

      impracticable in that [on information and belief] more than 1,000 persons

  .   have purchased laser assisted liposuction from Sono BelIo St. Louis.

         48.     .Thereare questions oflaw and fact common toThe proposed class,

      including without limitation:

               A. Whether Defendants violated theMMPA by expressly representing to

         its customers that they were being offered surgery performed with an FDA

         approved laser liposuction system;

               B. Whether Defendants violated the MMPA by using the Internet to

         disseminate the representation that LipoLite is an FDA-approved micro-

         laser liposuction system;
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             C. Whether Defendants violated the MMPA by using the Internet t¢

       disseminate the representation that SmartLipo is an FDA-approved

      liposuction system;

             D. Whether Defendants violated the MMPA by using the Internet to

       disseminate the representation SmartLipo technology obtained FDA

       approval in 2006; and

             E. Whether Defendants violated the MMPA by using the. Internet to

       disseminate the representation that TriScuipt is an FDA-approved

       liposuction system.

       49.     The questions oflaw and fact common to the members ofthe

    proposed class predominate over any questions affecting only individual

    members, and a class action is superior to other available methods for the fair

    and efficient adjudication ofthe controversy in that:

             A. The members of the proposed class have no substantial interest in

       individually controlling the prosecution ofseparate actions;

             B. There is no known litigation concerning the controv‚rsy already

       commenced bymembers ofthe proposed class against Defendants;

             C. It is desirable to concentrate the litigation ofthe claims in the Circuit

       Court ofSt. Louis Countybecause Defendants' sales location in Missouri is
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       located in St. Louis County and each Plaintiff purchased laser assisted

       lip osuction from Defendants, at that location; and

             D. This class actiQn will not be difficult to manage' in that the proposed

       class members can be identified and notified, including as to the value of a

       refund, from existing records maintained by Sono Bello.

       50.      The claims of the Plaintiffs are typical of the claims of the proposed

    class in that each ofthem suffered the same injury (purchasing laser assisted

    liposuction that was not as represented) as a result ofthe same unlawful

    conduct of Defendants, which conduct was part of a general campaign to

    market and sell laser assisted liposuction in Missouri and to Missouri

    consumers that was identical as to each potential customer a¤d that was not

    in any way indivi'd•alized.

       51.      The Plaintiffs will fairly and adequately protect the interests of the

    proposed class in that the interests ofthe Plaintiffs do not conflict with the

    interests ofthe members. ofthe proposed class, and the same acts and

    practices of Defendants have caused similar injuries to the Plaintiffs and to the

    members ofthe proposed class.

       52.      The prosecution ofseparate actions by individual members of the

    proposed class would create a risk ofinconsistent and varying adjudications

    with respect to individual members ofthe proposed class which would
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    establish incompatible standards of conduct for Defendants, which markets

    laser assisted liposuction to the generalpublic.

       53.   Defendants have acted in their marketing and sales of laser assisted

    liposuction on grounds generally applicable to the proposed class, thereby

    making appropriate the same final injunctive relief with respect to the

    proposed class as a whole.

                                 Claim i - Class Action
       54.   Plaintiffs, as representatives ofthe proposed class, adopt all

    preceding parts ofthis pleading and institute the following claim as a class

    action under the MMPA.

       55.   The acts, uses, and employments by Defendants, as described more

    fully above, constitute deception, fraud, misrepresentation, and the

    concealment, suppression, and omission ofmaterial fact in connection with

    the sale and advertisement oflaser assisted liposuction in trade and

    commerce in the state of Missouri, all in violation of Mo. Rev. Stat. 4O7.O2O

       56.   As a result               ofDefendants1



                                                       violations ofMo. Rev. Stat. 407.020: (i)

    each person who has purchased laser assisted liposuction surgery at Sono

    Bello St. Louis has suffered an ascertainable loss equivalent to a refund of the

    purchase price; and (ii) each Missouri resident who has purchased laser

    assisted liposuction surgery at any other Sono Bello facility at any time on
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                 after March 1, 2012 has suffered an ascertainable loss equivalent to a refund                 CD
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                 of the purchase price.
                                                                                                               (n

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                     57.               Each member of the proposed class purchased liposuction surgery         o


                 for personal purposes.
                                                                                                               D
                    58.                Defendants' conduct in violation of Mo. Rev. Stat.   407.020 has been   "3
                                                                                                               D
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                 wanton, willful, and outrageous; Dfendaiits have rˆcklessly disregard the                     Q

                 consequences ofsuch conduct; and Defendants have recklessly disregarded                       -U




                 the rights and interests ofthe members ofthe proposed class, including each
     .
                 Plaintiff.

                           .   .   .         .   .   ..
                                                          Claim 2 - Monica Webb
                    Plaintiff Monica Webb adopts by reference: (i) the statements in Claim i of

             this pleading, including all material adopted by reference into Claim 1; and (ii)

             the content ofExhibit D to this pleading.

                    59.                On or about September 16, 2016, Sono Bello falsely represented to

             Webb that the laser assisted liposuction surgery offered for sale by Sono Bello

             is performed using an "FDA-approved" laser liposuction system.
         .
                    60.                On or about September 20, 2016, Webb purchased the falsely-
     .

             represented surgery from Sono Bello at a purchaseprice of $7,037.89.
             .

                    61.            .   Webb purchased the falsely-represented surgery primarily for

t            personal purposes.
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       62.   Webb has suffered an ascertainable loss of $7,037.89 as a result of       CD




                                                                                       C,)



    the use and employment by Sono Bello of the unlawful methods, acts, and            g-

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                                                                                       ‡)
                                                                                       o
    practices described in this Claim.

                               Claim 3- Jennifer Jeifries                              0
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       PlaintiffJennifer Jeifries adopts by reference: (i) thestatements in Claim i    o
                                                                                       o
                                                                                       (D
    ofthis pleading, including all material adopted by reference into Claim 1; and     o

    (ii) the content of Exhibit E to this pleading.                                    Ii



       63.   On or aboutApril 29, 2015, Sono Bello falselyrepresented tojeffries

    that the laser assisted liposuction surgery offered for sale by Sono Bello is

    performed using an "FDA-approved" laser liposuction system.

       64.   On or aboutApril 30, 2015, Jeifries purchased the falsely-

    represented surgery from Sono Bello at a purchase price of $6,380.

       65.   Jeffries purchased the falsely-represented surgery primarily for

    personal purpo'ses.

       66.   Jeffries has suffered an ascertainable loss of$6,380 as a result of the

    use and employment by Sono Bello ofthe unlawful methods, acts, and

    practices described in this Claim.
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                                             Claim 4- Terrikah Cook                                 CD
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                 Plaintiff Terrikah Cook adopts by reference: (i) the statements in Claim i of
                                                                                                    Cl,




             this pleading including all material adopted by reference into Claim 1; and (ii)       C)
                                                                                                    o


             the content of Exhibit F to this pleading.
                                                                                                    -L
                 67.        On or about April 7,2015, Sono Bello falsely represented to Cook that   o
                                                                                                    o
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                                                                                                    <D
             the laser assisted liposuction surgery offered for sale by Sono Bello is               o
                                                                                                    (D
             performed using an 'tFDA-approved" laser liposuction system.

                 .68.       On or aboutApril 14, 2015, Cookpurchased the falsely-represented

             surgery from Sono Bello at a purchase price of $12,775.

                 69.        Cook purchased the falsely-represented surgery primarily for
                  f

             personal purposes.

                 .70.       Cookhas suffered an ascertainable loss of$12,775 as a result of the

             use and employment by Sono Bello ofthe unlawful methods, acts, and

             practices descrthed in this Claim.

         .   .                           Request for Judgment and Relief
     .           Plaintiffs dŠmand judgment against Defendants, and Plaintiffs request the
.
             following relief.                              .      .




                        o   An injunction prohibiting Defendants from engaging in the conduct

                 alleged in this pleadingthatviolates Mo. Rev. Stat 407.020.
                        0   Certification ofthe proposed class.
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           o   For each member of the proposed class: (i) an award of actual

       damages equivalent to a refund of the purchase price paid to Sono Bello;

       (ii) an award of punitive damages in an amount equal to nine times the

       awar4 of actual damages; (iii) a statutory award of attorneys' fees pursuant

       to Mo. Rev. Stat. 407.025; and (iv) such additional equitable relief as the

       Court deems just.

           o   For Plaintiff Monica Wel?b: (i) an award of damages in the amount of

       $7,037.89; (ii) an award ofpunitive damages in the amount of $63,341.01;

       (iii) a statutory award ofattorneys' fees pursuantto Mo. Rev. Stat.

       407.025; (iv) a class representative incentive award; and (y) such

       additi6nal equitable relief as the Court deems just.
       .



               For PlainiiffJenniferJeffries: (i) an award ofactual damages in the

       amount of$6,380; (ii) an award ofpunitive damages in the amount of

       $57,420; (iii) a statutory award ofattorneys' fees pursuantto Mo. Rev. Stat.

       407.025; (iv) a class representative incentive award; and (y) such

       additional equitable relief as the Court deems just.

           o   For Plaintiff Terrikah Cook: (i) an award of actual damages in the

      amount of$12,775; (ii) an award ofpunitive damages in the amount of

      $114,975; (iii) a statutory award of attorneys' fees pursuant to Mo. Rev.
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       Stat 407.025; (iv) a class representative incentive award; and (V) such      o

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       additional equitable relief as t]:iŠ Court deems just.
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       Undersigned counsel verifies that he signed the original of this pleading.
                                                                                    -s
                                                                                    o
                                                    Respectfully Submitted By:
                                                                                    o
                                                                                    CD
                                                    /s/ David G. Brown              o
                                                    David G. Brown Mo. Bar #42559   (D

                                                    Brown Law Office
                                                    501 Fay St, Ste 201
                                                    Columbia, MO 65201
                                                    (573) 814-2375
                                                    dbrown@brown-lawoffice.com
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      fiony CONtOUDfl1ES                                                                                                        (I)


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  Thank you for choosing Sono Bello. In our ongQlng efforts to provide you with the best possible service,
                                                                                                           we ask that
  you read this procedural consent fbrm and ask any questions necessary to help you fully understand it Please sign
  only after careful review and consideration.

                                                                                                                                o
  Sono Bello offers laser assisted Ilposuction using-FDA approved minimally invasivelaser liposuction systems
             decrease iocal[zed body fat, A very small instrument with a laser liber is inserted under the skin and             o
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                                      -                  .   -   -- -- - -- - - ----- - -- -J ----------------- - .b.__, IIW
  bload vessels resulting in less bleeding and bruising. Because of Its small Instrument size it Is Ideal for body
  4ontouring and fur treating areas that have been difficult to traat with traditional Ilposuction such as under the chin       -D.
                                                                                                                                (b
  and upper arms. It is also thought to stimulate collagen f”rmation resulting In additional skin tightening.
  WHAT IS TUMESCENT LIPOSUCTION?
  Tumescent liposuction Is a modification of traditional Ilposuction where a solution is injected into the fut layer and
  later removed by suction. The solution contains dilute Ildocaine and epinephrine. In addition to assisting with the
  procedure this solution provides pain relief and decreases bleeding and bruising. Tumescent liposuction allows tbr
  more fat to be removed and Is Ideal for larger body areas.

  NOTE In most cases laser assisted and tumescent tiposuctjon will be used together for best results.
 ANESTHESIA/SEDAflON:
 Sono Bello.specializes in doing procedures safely under local anesthesia. Patients may be offred a combination of
 the following five types of oral medications: I . Valium type medication for relaxation. 2. PaIn medIcation, often a
 narcotic. 3. Anti-nausea medication. 4. AntibIotics to prevent infection. 5. Medication to control blood pressure and
 pulse. In some instances Intramuscular narcotics for pain management may be Injected. Lidocalne type anesthetic
 products are used to numb the skin. Lidocaine Is present in the tumescent solution. Metabolism of Ikiocaine cari be
 affected by many medications. Your fUll disclosuie of themedications you are taking, Including herbais and over the
 counter medications, Is essentIal. Symptoms of lidpcaine toxicity may include lightheadedness, restlessness, and
 drowsiness, ringIng in the ears, slurred speech and numbness around the mouth. Peak levels of Ildocalne in the
 blood occur at about 12 hours and thereibre observation by a competent adult is required for the first 24 hours after
 surgery. You will need to Indicate if you are allergic to any of these medications or ifthere are any special
 medication needs. Arnica is a natural herb product that may be purchased separately to help control swelling and
 bruising and to decrease healing time.
 INTRAVENOUS (IV) ACCESS:
 A medical situation may arise during your surgery where you will need intravenous fluid or medication. As a
 precautionary measure you wilt have an IV port inserted for surgeries in which more than 2000 mL oftotal fat and
 tumescent solution are expected to be removed or 1f you are a Type I diabetic.
 DISCOPJ1FORT:
 This Is not a painless procedure. Patient discomfort will vary. The use cube above mentioned medications will
 decrease yo£r discomfortwhich should be tolerable. This is an awake procedure not done under heavy sedation or
 general anesthesia; therefore, you are encouraged to bring discomfort Issues to our attention during the procedure
 so thatwe may continually address them.

 POTENTIAL BENEFITS:
 Anticipated benefits include improved         contour and shape. Scientific literature has indicated that the use of
                                               figures




 the laser affordeless pain, bruising and swelling. lt may also offur faster healing.
 ALTERNATIVES:
 This is an elective cosmetic procedure that is not performed to improve health. Alternatives include weight
 reduction, diete exercise, fradttional plastic surgery and rio treatment.


                                                                                                              Patient lnitial
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  Thank you for choosing Sono Bello. In our ongoing efforts to provide you with the best pussbIe service, we ask that you
  read this proeduraI consent form and askany questions necessary to hejp you fully understand -t. Please sign only after
  careful review and consideration.                                                                                             0
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  WHAT IS LASER ASSISTED BODY SCULPTING BY SONO BELLO:                                                                          C
  Sono Bello offers laser assisted liposuction using FDA approved minimally invasive laser Ilposuction systems designed to      o
  decrease localized body fat. A very small instrument with laser fiber is inserted uriderthe sldn and into the fat layer.      -J.
                                                                                                                                CO
  The laser destroys the fat cells, which are removed by gentle suction. The laser also coagulates blood vessels resulting in   Q
  less bleeding and bruising. Because of its small Instrumentsize -t -s ideal for body contouring and for treating areas that   4..
                                                                                                                                to
  have been difficult to treat with traditional liposuction such as under the chin and upper arms. It Is also thought to
  stimulate collagen formation resulting In additional skin tlghtentng.
  WHAT IS TUMESCENT UPOSUCI1ON?                               .


  Tumescent llposuction is a modification oftraditional liposuction where solution Is Injected into the fat layer and later
  removed bysuction. The solution contains dilute Ildocatne and epinephrine. In addition to assisting with the procedure
  this solution provides pain relief and decreases bleeding and bruising. Tumescent liposuction allows for more fat to be
  removed and Is ideal for larger body areas.

  ¥OTE: in most cases laser essisted and tumescent liposuction will be used togetherfor best results.

  ANESTHESiA/SEDATION:       ..
  Sono BlIo specializes In doing procedures safely under local anesthesia. Patients may beoffered a combination of the
  followingfive types oforal medications: 1. ValIum type medication forrelaxation. 2. Pain medication, often a narcotic.
  3. Anti-nausea medication. 4. AntibIotics to prevent infection. S. Medication to control blood pressura and pulse. In
  some instances Intramuscular narcotics for pain management may be Injected. Lidocaine type anesthetic products are
  used to numb the skin. Lidocaine is present In the tumescent solution. Metabolism of lidocaine can be affected by
  many medications. Your f–li disclosure ofthe medications you are taking, Including herbais and over the counter
  medications, is essential. Symptoms of Ildocalne toxicity may Include lightheadedness, restlessness, and drowsiness,
  ringing in the ears, slurred speech and numbness around the mouth. Peak levels oflidocalne in the blood occurat about
  12 hours and therefore observation by a competent aduIt Is required forthe first 24 hours after surgery. You will need
  to indicate -fyou are allergic to any ofthese medications or lfthere are any specIal medrcation needs. Amica is a natural
  herb productthat may be purchased separatelyto help control swelling and bruising and to decrease healing time.
  INTRAVENOUS (IV) ACOESS;
  A medical situation may arise during your surgery where you will need Intravenous fluid or medication. As a
  precautionary measure you will have an IV port inserted prior to your surgery.
  DISCOMFORT:
  This is not a painless procedure. Patient discomfort will vary. The use ofthe above mentioned medications will
  decrease your discomfort which should be tolerable. This is an awake procedure not done under heavy sedation or
  general anesthesia; therefore, you are encouraged to bring discomfort Issues to ourattention during the procedure so
  that wemay continually address them.

  POTENTIAL BENEFITS:
  Antidpated beiiefits Include improved figura, contour and shape. Scientific literature has indicated that the use of the
  laser may afford less pain, bruising and swellIng. it may also offer faster healIng.
  ALTERNATIVES:
  This is an elective cosmetic procedure thatis not performed to improve health. Alternatives include weight reduction,
  diet, exercise, traditional plastic surgery and no treatment
               .
                                                                                                    Patient Initials V J


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   I understand that no specific guarantees are written1 Implied or made by clinic or its staff and that no comments,                   o
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   conversatlons.or literature or website information are to be construed as otherwise.
   REAUSTICEXPECrATIONS:
   liposuction is an elective cosmetic procedure to Improve appearance. The practice of medlcineand surgeryis not-an
                                                                                                                                        u)
  exact science and results are not guaranteed. Results will vary among patients. áefore and after phbtos published in                  C)
   literature or in electronic format are not necessarilytyplcal ofthe result any One patient may expect. Laser Assisted                o
   Liposuction is a method of removing localized fatty deposits that do not respondto diet or exercise. This Is not a
  substitute fr weight reduction. Cellulite (dimpled skin) benefit is not assured. This Is not a treatment for loose skin,
  which may require a surgical procedure. The best candidates are neartheir idealbody weight with firm elastic skin and                 -o
  localized fat. A healthy lifestyle of diet and exercise may help you .obtaln better rˆsults. individuals with poor skin tone,         -s
                                                                                                                                        o
  .certain.medlcal prgbIems …beslty or unrealistic expectations may not be good candidates. Aging, weight gain or loss,                 r.,
  pregnancy and other circumstances may alter the benefits over time.. i understand that -n the unlikely case that I am not             o
                                                                                                                                        (o
  satisfied with the procedure and/ora secondprocedure Is necessarythatsuch revisions are notlnciuded in the Inftialfees
  butmay be billed at a discounted raie. Sono Bello does notprovide pDst-procedure refunds underany circumstance.
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  MEDICAL HISTORY:                                                                                                                      (o
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  I will disclose a full and accurate personal medical history Including any and ali information regarding medkal condItions
  and my use of mediatIons, drugs, herbs, vitamins, or.othersupplements of any kind, both prescribed and over the
  .counter. i understand that failure to do so may affct mytreatment outcome and may increase the likelihood or.
  severity ofcomplications. i will provide an updated medical history at each visit..

  NOTE: in someinstances we may require the patient to consult his/her personal physician obtalni¤g written consent
  for treatment. We should receive this priorto the scheduled procedureto avoid scheduling conflicts.

  PREGNANCY IN FEMALES: FOR SA€EIY REASONS SURGERY WILl. NOT BE PERFORMED IF VOJ ARE PREGNANT. YOU
  UNDERSTAND ADMINISTRATION OF A URINE PREGNANCYTESTWIU. BE CONDUCrED BEFORE YOUR SURGERY IF YOU .
  ARE UNDEA 50 YEARS OF AGE AND HAVE.NOT HAD A HYSTERECTOMY WITH ABSENCE OFMENSTRUAL PERIODS.
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               w (A.)    .   INITIAtHERETO CONFIRMThATY0UARE NOTPREGNANTNORSUSPECrYOUARE PREGNANT.

  €AUTIONS FOR ThE USE OFThE LASER AND/OR UPOSUC1ON SURGERY:
           o    Current or past cancer, especially skin cancer, and premalignant moies.                     .


           0    ActIve skin lElons in the treatment area including r shes, infection, psoriasis and eczema. Hernia in treatment
                area               . --                                                  :

           o    Treatment over tattoos, permanentmakeup or excessively tanned skin (including from tannIng creams).
       -

                Histor, ofchronic skin disorders, kelolds, abnormal wound heatingand verydry orfragileskin.
           .    History ofexcessive bleeding, coaguiopathies or use of anticoagulants.                  .


           e    Pregnancy, breast feeding or within three months ofvaginal childbirth.
           n    Impaired immune system due to diseases such as AIDS and HIV orthe use of Immunosuppressive medications.
           Q    Severe medical conditions sudi as ‡ardlac disorders, poorly controlled diabetes or ex‡essive lipemia.
           o    Diseases stimulated by light (seizures).or heat (history of Herpes simplex In treatment are„ requires
                pretreatment).                                                                                           .


           D    Use of phOtOSQnSitIzing medications such as Isotretinoin (Accutane) within the last six months tefracydine or St.
                JohnsWortwithin the lasttwo'weeks.                                                                 ...

           e    Any surgical procedure in the treatment area within the last six months or before complete healing.
           o    At the discretion ofthe surgeon any condition which might make it unsafe-for the patient.
  PHOTOGRAPHS i VIDEOTAPES [COMPUTER IMAGES:
  I understand that photographs, videotapes or computerimages maybe taken and thst they may be:us‰c to aid In my
  treatment plan, to documenttreatrnent progress1 fo marketing, educational, research or study purpasesandthat these
  tIiII remain the property ofthe facility. I •nderstand that my Identity wil! be. kept strictly confidential.



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  SURGICALSTAFF:                                     .       .       .



  Yoursurgerywlll be piimarfty performed by one ofour qualified surgeons. A Physicians Assistant, Nurse Prct1t.1oner,
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  Swgical AssIstant or Registered Nurse may assist.the surgeon. There my also be a Scrub Tethnidan Medical Asslsta¤t                           o
  or similarly qualified. medical professional present. Anymedications (see Anesthesia/Sedation above) will be at the                         u,
  direction ofthe surgeon. For quality assurance and processimprovement purposes.we provide periodic in house                                  C)
                                                                                                                                               o
  training and monitoring of our physicians. Please let us know If you have any concerns regarding these issues.
  RISK/SIbE EFFECTS:
  Although these may normallyoccur, any concerti should be reported to our office Immediately. The most common post-
  operative concerns are hematoma (bleeding underthe skin), seroma (fluid collection underthe skIe) and Infection.
  Development of a hematoma or seroma may requir‚ dralnag‚. You may experience pain, redness, swellin& skin
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  discoloration;alteration ofthe natural skin texture scratchtng, crusting, b!isterbr bum), bleedingor bruising, skin
  contourlrregularitles and/or asymmetry loose skin, pe,ltent swelling, poor               nerve/muscle/blood vessel
                                                                                        heaflngr




  damage, scarrIng, persistent pain, allergic rcactionsor athercomplicat!ons related to surgery and/or anesthesia                             Q
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  including death. You may notice a burn Iike.effectfron skln.stretchlng, friction or laser heat, especially In areas of thin                 (D
  skin. it is common to have decreased skin sensation in the area oftheprocedure, which usually.resolves over several
  weeks. Fatembolism and blood clots -n the legs [deep ,eIn thrombosis (DYT)] or lung [pulmonary embolism (PE)] are
  rare but a risk ‡fany surgical procedura. Removal of localized ft may make overlying loose skinmore prominent.
  other complications could occur that are not evident wIth your particular case prior to orfollowingthe procedure. Any
  ofthe above, Ifsevere enough, may require furthertreatment, hospitalization or other medical care. Initial payment
  does not include additional s•rgery ortreatment. Thahealing process will involve an initiai period ofswelllng and light
  bruising. .This will be most noticeable on the 2 or 3 day after surgery and generally gone wlthln.acouple of weeks.
  The'incMon area can become thickened andred as part ofthe normal healing. Contact us.anytlme forany concerns.
  CONFIDENTIALITY:
  I understand that no Information regardingservices performed shall be released without my consent except as follows:.
  I authorize that copies of my medical records may be sent to another Sono Beilolocatlon If I seek additlonaitreatment at
  that location. I understand that in addition to clinic personnel, the clinic's Medical Director(s) and any consulting
  physicians shall have access to my records. I understandthat, in addition to clinic              thee clinic's Medical
                                                                                                       personnels




 Dlrector(s).and any consulting physicians shall.have access to my records. i consent to the release bfmy medical records
  byclinic personnel, the clinic's physician(s) or consulting physicians to a hospital, emergency room, medical providers, or
 emergency personnel providing follow-up care re.uIting from my procedure. I consent toSoo Bell….obtainlng medical
  records related to my procedure and any follow-up care from hospitals1 emergency rooms or seMces, physicians and
 consultants. I understand that appropriate medical review may be conducted to furtherthe safety and efficacy of
 services. I understand the clinic may provide anonymous i1mid information to variousthird-party v.endors to asSIst
 uiith database development, referral services or marketing research. The cliflicwlll maintain coples.of all records as
 required by law. 1f requested I have received a copy of the dinic HIPAA/ Privacy Policy for review. I understand that by
 .wrltten r‡quet I can revoke the consentof release of my medical records at anytime except to the extn that actio¤
 has been taken.                             .                           .




  POST-EXPOSURE LABORATORY TEST:
 Ifa Sono flello staff member is accidentally exposed to my blood or body fluids by an accidental needleMick or other.
  means, I consent to having my blood drawn and tested forHepatitis B, Hepatitis C and 141V as.required ofme by the
  Occupational.Safety and Health Administration (O.SHA). I understand that this will be done at no cost to me and that all
  results will be kept.confidential and onlydisclosed as requIred by law.                          .                        O




 I authorize ralease of information the day ofsurgery and for the following 7 days to those known tobe Involved in my
 surgical care (Le. driver and 24 hour caretaker) and to those listed here:

 ADDmONALINF0RMATI0N:           .


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  FOLLOW-UP:
  You will rece!ve a follow up phone call from us after your surgery. We will schedule.your routine ft,IIow up visits.               '-F

                                                                                                                                     J-
  We are avallabJe anytime during office hours to seeyou for immediate concerns. You mayreach us at any-time by           ;.         o
                                                                                                                                     cz
  calling l-800-511-6880.                                                                                                            u)

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  CONSENT ACKNOWLEDGEMENT:

  I underthndand will follow the provided instructions knowing that this will improve my outcome and lessen the
  possibility of compllcatlDns.

  lfly signature attests to the fact that I have fully read this entire consentiorm, that I am a competent adult of at least         o
  18 years of age, that I have had all questions and concerns answered to my satisfaction, that I understand and agree               I',
                                                                                                                                     o
  to the Information contained within and have received a wdtten copy. understand the surgeon may provide other                      (D
  surgical services to enhance the cosmetic result and/orta address unanticipated issues noted during surgery. I                     o
  assume the risks and complications indicated and understand there may be unforeseen risks not Included In this
                                                                                                                                     (D
  consent and wish to proceed with surgery.


  Patient rdame:   mCyrrj (1(jd*:                                       ..




  Patient lgnature:                                                                Date:



  Witness Signatur4'                   aAcv'
  SURGEON ATrESTATION:

  As the surgeon i attestthafhe information in this Informed Consent has been discussed with the patient, the patient
  has had the opportunityto have any questions or concerns addressed and that the patient is a suitable candidatefor
  liposuction surgery.


  Surgeon Name:



  Surgeon Signature;



  Date;
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Thank yOU for choos!ng Sono Bello. In our ongoing efforts to provide you with the best possible service, we ask that you
read this procedural consent form and ask any questŒans necessary to help you fully understand it. Please sign Only after
careful review arid consideration,

WHAT IS LASER ASSISTED BODY SCULPTING BY SONO BELLO
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Sono Bello offers laser assisted IIpostion using FDA approved minimally invasive laser Iiposuciion systems designed to
decrease localized body fat. A very small instrument with a laser fiber Is Inserted under the skin and into the fat layer.
The laser destroys the fat cells, which are removed by gentle suction. The laser a!so coagu'ates blood vessels resulting In
less bleeding and bruising. Because of its 51na11 instrument size it Is Ideal for body contouring and for treating areas that
h8ve been difficult to treat with traditional liposuction such as under the thin and upper arms. ft Is also thought to
stimulate collag‚n formation resulting in additional skin tightening.

WHAT IS ¤JMESCENT UPOSUCrION?
Tumescent Iiposuction is a mbdification oftraditlonal liposuction where a solution is injected Into the Tht layer and later
removed by suction. The solution contains dilute lidocaine and ep1nephrne. In addition to assisting with the procedure
this solution provides pain relief and decreases bleeding and bruising. Tumescent Ilposuctian allows for more fat to be
removed and Is ideal for larger body areas.

NOTE: in most cases laser assisted and tumescent liposuction will be used together for best results.

ANESTHESIA/SEDATION:
Sono Belfo specialles in doing procedures safely under local anesthesia. Patients may be offered a combinationof the
following five types of oral medications: i. Valium type medication for relaxation. 2. Pain medication, often a narcotic.
3. Anti-nausea medication. 4. Antibiotics to prevent infection. 5. Medication to control blood pressure and pulse. In
some instances intramuscular narcotics for pain management may be injected. Lidocalne type anesthetic products are
used to numb the skin. Lidocaine is present In the tumescent solution. Metabolism of lidocaine can be affected by
many medications. VourfUIt disclosure ofthe medications you are taking, including herbais and overthe counter
medications, is essential. Symptoms of lidocaine toxicity may Include lightheadedness, restlessness, and drowsiness,
ringing in the ears, slurred speech and numbness around the mouth. Peak levels ofildocalne in the blood occur at about
12 hours and therefore observation by a competent adultis required forthe first 24 hours aftersurgery. You will need
to ihdicate ifycu are allergic to any ofthese medications or If there are any special medication needs. Arnica is a natural
herb product that may be purchased separately to help control swelling and bruising and to decrease healing time.

INTRAVENOUS (IV) ACCESS:
'A medicatisituation may arise durthg your surgery where you will need intravenous fluid or medication. As a
 precautionary measure you wiIJ. have an IV port Inserted priorto your surgery.

DISCOMFORT:
This is not a painless procedure. Patient dlscomfortwill vary. The use ofthe above mentioned medications will
decrease your discomfort which should be tolerable. This is an awake procedure not done under heavy sedation or
general anesthesia; therefore, you are encouraged to bring discomfort issues to our attention during the procedure so
that we may continually address them.

POTENTIAL BENEFITS:
Anticipated benefits Include improved figure, contourand shape. Scientificliterature has indicated thatthe use of thŠ
laser may afford less pain, bruising and swelling. lt inay also offerfaster healing.
ALTERNATIVES:
This is an elective cosmetic procedure that Is not perfbrmeci to improve health. Alternatives include weight reduction,
diet, exercise, traditional plastic surgery and no treatment.

                                                                                                     Patient Initials

                                                                                                          Revised ian 06 2015
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NO GUARANTEE:                                                                                                                  -n
I understand that no spedffc guarantees are written, implied or made by clinic or its staff and that no comments,              CD
                                                                                                                               Q-
conversations or literature or website information are to be construed as otherwise.
REALISTIC EXPECTATIONS:                                                                                                        g-

Liposuction is an elective cosmetic procedure to Improve appearance. The practice of medicine and surgery Is not an            u,

exact science and results are not guaranteed. Results will vary among patients. Before and after photos published in           C)
                                                                                                                               o
literature or in electronic format are not necessarily typical of the result any one patient may expect. Laser Assisted
Liposuction is a method of removing localized ftty depo5its that do not respond to diet or exercise. This is not a
substitute far weight reduction. Cellulite (dimpled skin) benefit is not assured. This is not a treatment for loose skin,      -o
wNch may require a surgical procedure. The best candidates are near their Ideal body weight with firm elastic skin and
localized fat. A healthy lifestyle of diet and exercIse may help you obtain better results. Individuals with poor skin tone,   o
certain medical problems, obesity or unrealistic expectatIons may not be good candidates. Aging, weight gain or loss.,         Q
                                                                                                                               -a.

pregnancy and other circumstances may alter the benefits oyer time. f understand that in the unlikely case that am not         (b

satisfied with the procedure and/era second procedure -s necessary thotsuch revisions are not included -n theinitialfees       o
but may be billed at o discounted rate. Sono Bello does not provide post-procedure refunds under any circumstance.             -p.
                                                                                                                               Ca

MEDICAL HISTORY:
 I will disclose a full and accurate personal medical history Including any and all information regarding medical conditions
 and my use of medications, drugs, herbs, vitamins, or othersupplements of any kind, both prescribed and over the
 counter. I understand that failure to do so may affect mytreatment outcome and may increase the likelihood or
.sev‚rity of complications. I wIll provide an updated medical history at each visit

NOTE; In sanie instances we may require the patient to consult his/her personal physician obtaining written consent
for treatment. We should receive this prior to the scheduled procedure to avoid scheduling conflicts.

PREGNANCY INFEMALES: FOR SAFETY REASONS SURGERY WILl. NOT BE PERFORMED IF YOU ARE PREGNANT. YOU
UNDERSTANb ADMINISTRATION OF A URINE PREGNANCYTESTWIU. BE CONDUCTED BEFORE YOUR SURGERY IF YOU
ARE UN ER 60 YEARS OF AGE AND HAVE NOT HAD A HYSTERECTOMY WITH ABSENCE OF MENSTRUAL PERIODS.

     __________INITIAL HERE TO CONFIRM THAT YOU ARE NOT PREGNANT NOR SUSPECT YOU ARE PREGNANT.

CAUTIONS FOR THE USE OF ThE LASER AND/OR UPOSLICflON SURGERY:
 .   Q   Current or past cancer, especially skin cancer, and premalignant moles.
     o   Active skin lesions in the treatment area Including rashes, Infection, psoriasis and eczema. Hernia in treatment
         area.
     0   Treatment over tattoos, permanent makeup or excessively tanned skin (Including from tanning creams).
     o   History ofchronlc skin disorders, keloids, abndrmal wound healing and very dry or fragile skin.
     Q   History of excessive bleeding, coagulopathies or use of anticoagulants.
     0   Pregnancy, breast feeding or within three months ofvaginal childbirth.
     e   Impaired immune system due to diseases such as AIDS and 111V orthe use of immunosuppressive medications.
     o   Severe medical conditions such as cardiac disorders, poorlV controlled d•abetes or excessive lipemia.
         Diseases stimulated by light (seizures) or heat (history of Herpes simplex in treatment area requires
         pretreatment).
         Use of photosensitizing medications such as Isotretinoin (Accutane) within the Iastsix months; tetracycline or St.
         John's Wort within the last two weeks.
     f   AurgicaI procedure in the treatment area withinthelastsix months or before complete healing.
     o   At the discretion of the surgeon any condition which might make it unsafe for the patient.
PHOTOGRAPHS I VIDEOTAPES I COMPUTER IMAGES:
I understand that photographs, videotapes or computer images may be taken and that theymay be used to aid in my
treatment plan, to document treatment progress, for marketing, educational, research or study purposes and that these
will remain the property ofthe facility. I understand that my Identity will be.kept strictly confidential.


                                                                                                      Patient

                                                                                                                       2015
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    SURGICAL STAFF:
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Voursurgery will be primarily performed by one ofour qualified surgeons. A Physicians Assistant, Nurse Practitioner,
Surgical Assistant or Registered Nurse may assist the urge6n. There may also be a Scrub Technician, Medical Assistant
or sImiIary quaIifed medical professŒonalpresent. Any medications (see Anesthes•a/Sedaton above) will be at the
direction of the surgeon. For quality assurance and process improvement purposes we provide periodic In house
training and monitoring ofour physicians. Please let us know ifyou have any concerns regarding these issues.
    RISK/SIDE EFFECTS:   .                               .




Although these may normally occur, any concern should be reported to our office Immediately. Yo• may experience
pain, rŠdness, swelling, skin discoloration, alteratbn ofthe natural skin texture (scratching, crusting, blister or burn),
bleeding or bruising, inf‚ction, skin contour Irregularlt‚s and/or asymmetry, loose skin, persistent swelling, poor
healing, nerve/muscle/blood vessel damage, scarring, persistent pain, allergic reactions or other complications related
to surgery and/or anesthesia including death. You may notice a burn like effect from skin stretching, friction or laser
heat, especially in areas ofthin skin. Development ofa hematoma orseroma may.requlre drainage. lt Is common to
have decreasedskjn sensation In the area ofthe procedure, which usually resolves overseverai weeks. Fat embolism
and bloodc¡ots In thelegs [deep vein thrombosis (DVI)] orlung [pulmonary embolism (PE)) are rare but a risk ofany
surgical procedure. Removal of localized ft may make overlying loase skin mare prominent Other complications could
occurthat are not evident with your particular case prior to or following the procedure. Any ofthe above, If severe
enough, may requjre fiarther treatment, hospitalization or other medical care. Initial payment does not Include
additional surgery or treatment. The healing process will involve an initial period ofswelling and light bwising. .ThIs will
be most noticeable on the 2' or 3 day aftersurgery and generally gone within a couple ofweeks. The incision area can
become thickened and red as part oftlie normal healing. Contact us anytime for any concerns.
CONFIDENTIALITY:
I
  understand that no information regarding servicesperfomd shall be released without my consent except as follows:
I authorize that copies ofmy medical records may be sentto anotherSono Bello location ill seek addItional treatment at
that location. I understand that, In addition to clinic personnel, the clinic's Medical Dire‚tor(s) and any consulting
physicians shall have access to my records. I consent to the release of my medical records by clinic personnel, the
clinic's physician(s) or consulting physicians to a hospital, emergency room, medical providers, or emergency personnel
providing follow-up care resulting from my procedure. I consent to Sono Bello obtaining medical records related to my
procedure and any follow-up care from hospitals, emergency rooms or services, physicians and conultants. I
understand that appropriate medical review may be conducted to furtherthe safety and efficacy of services. I
 inderstand the clinic may provide anonymous limited information to various third-party vendors to assist with database
development, referral services or marketing research. The clinic will maintain copies of allrecords as required by Jaw. 1f
requested I have received a copy of the clinic HIPM f Privacy Policy for review. I understand that by written request I
can revoke the consent of release of my medical records at any time except to the extent that action has been taken.
POST-EXPOSURE LABORATORY TEST:
If a Sono Bello staff member Is accidentally exposed to my blood or body fluids by an accidental needle stick or other
means, I consent to having my blood drawn and tested for Hepatitis B, Hepatitis C and HIV as required of me by the
Occupational Safety arid Health Administration (OSHA). understand thatthis will be done at no cost to me and that all
                                                             i



results will be kept confidential and only di5closed as required by law.

t authorize release of Information the day of surgery and for the following 7 days to those known to be Involved In my
surgical care (i.e. driver and 24 hour caretaker) and to those listed here:


ADUmONALINFORMATION:                                                                                                     .




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Pat¡nt Signatul                                                                 Date;   4/ L'91/fs


Witness Signatu


SURGEON ATTESTATION:

As the surgeon, I attest that the Inibrmation in this Informed Consent has been discussed with the patient, the patient
has had the oppDrtunity to have any questions or concerns addressed and tltatthe patient is a suitable candidate for
liposuctiori surgery.


Surgeon Name:


Sureon Signatu


Bate:        ¨(zi-                      Time:       y:i:::
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    Thank you for choosing Sono Bello. In our ongoing efforts to prov!de you with the best possible service, we ask that you
    read this procedural consent form and ask any questions necessary to help you fully understand it. Please sign only after
    careful review and consideration.

    WHATIS LASERASSISTED BODYSCULPTING BYSONO BELLO:
    Sono BeDo offers laser assisted liposuction using FDA approved minimally Invasive tasar liposuction systems designed to
    decrease local(zed body fat A very small instrument with a laser fiber is inserted under the skin and into the fat layer.
    The laser destroys the fat cells, which are removed by gentle suction. The laser also coagulates blood vessels resulting in
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    less bleeding and bruising. Because of its small instrument size lt is Ideal for body contouring and for treating areas that
                                                                                                                                                            Q
    have been difficult to treat with traditional liposuction such as under the chin and upper arms, lt Is also thought to
    stimulate collagen formation resuItin in additional skin lightening.                                      .                                             (O
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    WHAT 15 TUMESCENT LIPOSUCTION?
    Tumescent Irposuction is a modification oftraditional liposuction where a solution is injected into the fat layer and later
    removed by suction. The solution contains dilute Iido.caine and epinephrine. In addition to assrsting with the procedure
    this solution provides pain relief and decreases bleeding and bruising. Tumescent liposuction allows for more i to be
    removed and is ideal for larger body areas.

    NOTE: In most cases laser assisted and tumescent liposuction will be used together for best results.
    ANESTHESIA/SEDATION:
    Sono Bello specializes In doing procedures safely under local anesthesia. Patients may be offered a combination of the
    filiowing five types oforal medications: 1. Valium type medication for relaxation. 2. Pain medication, often a narcotic.
    3. Anti-nausea medication. 4. Antibiotics to prevent infection. S. Medication to control blood presure and pulse. In
    some instances Intramuscular narcotics for pain management may be injected. Lidocalne type anesthetic products are
    used to numb the skin. Lidocalne Is present in the tumescent solution. Metabolism of lidocalne can be'affected by
    many medications. YourfuILdiclosure ofthe medications you are taking, Including herbais and overthe counter
    medications, is essential. Symptoms of lidocaine toxicity may include lightheadedness, restlessness, and drowsiness,
    ringing In the ears, slurred speech and' numbness around the mouth. Peak levels of liclocalne in the blood occur at about
    12 hours and therefore observation by a competent adult Is reqUired for the first 24 hours after surgery. You will need
    to indicate ifyou are allergic to any ofthese,medicatlons or ifthere are any special medication needs. Arnica is a natural
    herb product that may be purchased separately to help control swelling and bruising and to decrease healing time.

    INTRAVENOUS (IV) ACcESS:
    A medical situation may arise during your surgery where you will need intravenous fluid or medication. As a
    precautionary measure you will have an IV port inserted prior to your surgery.

    DISCOMFORT:
    This -5 not a painless procedure. Patient discomfort will vary. The use ofthe above mentioned medications will
O

    decrease your discomfort which should be tolerable. This is an awake procedure not done under heavy sedation or
    general anesthesia; therefore, you are encouraged to bring discomfort issues to our attention during the procedure so
    that we may continually address them.

    POTENTIAL BENEFITS:
    Anticipated benefits Include Improved figure, contour and shape. Scientific literature has Indicated that the use of the
    laser may afford less pain, bruising and swelling. lt may also offer faster healing.
    ALTERNATIVES:
    This is an elective cosmetic procedure that is not performed to improve health. Alternatives include w‚ight reduction,
    diet, exercise, traditional plastic surgery and no treatment.                                                                                  ,




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 NO GUARANTEE:
  understand that no specific guarantees are written, implied or macle by clinic or its staff and that no comments
 conversations or literature or website information are to be construed as otherwise.

 REALISTIC EXPECTATI0NS
Liposuction Is an elective cosmetic procedure to improve appearance. The practice of medicine and surgery is not an
exact science and results are not guaranteed. Results will vary among patients. Before and after photos published in
literature or in electronic format are not necessarily typical ofthe result any one patient may expect. Laser Assisted
Liposuction is a method of removing localized fatty deposits that do not respond to diet orexercise;ThIsis nota .....
substitute for weight reduction. Cellulite (dimpled skin) benefit is not assured. This is not a treatment for loose skin,
which may require a surgical procedure. The best candidates. are near their ideal body weight with firm elastic skin and
localized fat. A healthy lifestyle of diet and exercise may help you obtain better results. Individuals with poor skin tone,
certain medical problems, obesity or unrealistic expectations may not be good candidates. Aging, weight gain or loss,
pregnancy and other circumstances may alter the benefits over time. I understand that In the unlikely case that I am not
satisfied with the procedure und/Dr a second procedure is necessary thatsuch revisions are not included -n the initialfees
but may be billed at a discounted rate. Sono Belfo does notprovlde post-procedure refunds under any circumstance.

MEDICAL HISTORY:
I will disclose a full and accurate personal medical history including any and alt information regardIng medical conditions
and my use of medications, drqgs, herbs, vitamins, or othersupplements ofany kind, both prescribed and over the
counter. I und‚thtand thatfailure to do so may affect mytreatment outcome a¤d may increase the likelihood or
severity of complications. I will provide an updated medical history at each visit.

NOTE: In some instances we may require the patient to consult h15/her personal physician obtaining written consent
for treatment. We should receluB this prior to the scheduled procedure to avoid scheduling conflicts.

PREGNANCY IN FEMALES: FOR SAPEVI' REASONS SURGERY WILL NOT BE PERFORMED IF YOU ARE PREGNANT. YOU
UNDERSTAND ADMINISTRA11ON OF A URINE PREGNANCY TEST WILL BE CONDUCTED BEFORE YOUR SURGERY IF YOU
ARE UNDER)O YEARS OF AGE AND HAVE NOT HAD A HYSTERECTOMY WITH ABSENCE OF MENSTRUAL PERIODS.

                  cANlTlAL HERE TO CONFIRM THATYOU ARE NOT PREGNANT NOR SUSPECT YOU ARE PREGNANT.

CAUTIONS FOR THE USE OF THE LASER AND/OR LIPOSUCFION SURGERY:
        .o
              Current or past cancer, especially skin cancer, and premalignant moles.
        0     Active skin lesions in the treatment area Including rashes, infection; psoriasis and eczema. Hernia in treatment
   ..         area.
   .o        Treatment over tattoos, permanent makeup or excessively tanned skin (Including from tanning creams).
        e     History of chronic skin disorders, keloids, abnormal wound healing and versi dry or fragile skin.
        e     History of excessive bleeding, coagulopathies or use of anticoagulants.
        o     Pregnancy, breast feeding or within three months ofvaginal childbIrth.
        Q     Impaired immune system due to diseases such as AIDS and HIV or the use of immunosuppressive medications.
        o     Severe.medlcal conditions such as cardiac disorders, poorly controlled dIabetes or excessi•e lIpemia.
        Q     Diseases stimulated by light (seizures) or heat (history of Herpes simplex in treatment area requires
              pretreatment).
              Use of photosensitizing medications such as Isotretinoin (Accutana) within the last six months; tetracycline or St.
              John's Wort within the last two weeks.
        o     Any surgical procedure In the treatment area within the last six months or before complete healing.
        o     At the discretion ofthe surgeon any condition which might make it unsafe for the patient.
PHOTOGRAPHS I VIDEOTAPES J COMPUTER IMAGES:
I understand that photographs, videotapes or computer images may be taken and that they may be used to aid in my
treatment plan, to document treatment progress, for marketing, educational, research or study purposes and that these
will remain the property of the facility. I understand that my identity will be kept strictly confidential.-


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SURGICAL STAFF:                                                                                                                    -n
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Your surgery will be primarily performed by one of our qualified surgeons. A Physicians Assistant, Nurse Practitioner,             o.
Surgical Assistant or Registered Nurse may assist the surgeon. There may also be a Scrub Technfcan, Medical Assistant
orsimilarly qualified medical professional present. Any medications (see Mesthesia/Sedat•on above) will be at the                  I-
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direction of the surgeon. For quality assurance and process improvement purposes we provide erIodic in house                       u)
training and monitoring of our physicians. Please let us know If you have any concerns regarding th‚ •u‚ - -                       C)
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RrsK/5IDEEFFECrs:
Although these may normally occur, any concern should be reported to our office immediately. You may experience
pain, redness, swelling, skin discoloration, alteration ofthe natural skin texture (scratching, crusting, blister or burn),
bleeding or bruising, infection, skin contour irregularities and/or asymmetry, loose skin, persistent swelling,             poor
healing, nerve/muscle/blood vessel damage, scarring, persistent pain, allergic reactions or other complications related
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to surgery and/or anesthesia including death. You may notice a burn like effect from skin stretching, friction or laser            o
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heat, especially in areas ofthln skin. Development of a hematoma or seroma may require drainage. It Is common to
have decreased skin sensation In the area ofthe procedure, which usually resolves over several weeks. Fat embolism
and blood clots in the legs [deep vein thrombosis (DVT)J ortung [pulmonary embolism (PE)J are rare but a risk of any               CD
surgical procedure. Removal of localized fat may make overlying loose skin more prominent. Other complications could               -u

occur that are not evident with your particular case prior to or Ibilowing the procedure. Any of the above, if severe
enough, may require further treatment, hospitalization or other medical care. Initial payment does not include
additional surgery or treatment. The healing process will involve an initial period ofsweiling and tight bruising. This will
be most noticeable on the 2 or 3 day after surgery and generally gone within a couple ofweeks. The incision area can
become thickened and red as part of the normal healing. Contact us anytime for any concerns.
CONFIDENTIALITY:
I understand that no Information regarding services performed shall be released without my consent except as follows:
I authorize that copies of my medical records may be sent to another Sono Bello location if i seek additional treatment at
that locatipn. I understand that, In addition to clinic personnel, the clinic's Medical Director(s) and any consulting
physicians shall have access to my records. I consentto the release ofmy medical-records by clinic personnel, the
clinic's physician(s) orconsulthig physicians to a hospital, emergency room, medical providers, or emergency personnel
providing follow-up care resulting from my procedure. I consentto Sono Bello obtaining medical records related to my
procedure and any follow-up care from hospitals, emergency rooms or services, physicians and consultants. I
understand that appropriate medical review may be conducted to furtherthe safety and efficacy of services. i
understand the clinic may provide anonymous limited information to various third-party vendors to assist with database
development, referral services or marketing research. The clinic will maintain copies of all records as required by law. If
cequested I have received a copy of the clinic HIPAA I Privacy Policy for review. I understand that by written request I
can revoke the consent of release of my medical records at any time except to the extent that action has been taken.
POST..EXPOSURE LABORATORY TEST:
Ifa Sono Bello staff member is accidentally exposed to my blood or body fluids by an accidental needle stick or other
means, I consent to having my blood drawn and testeil for Hepatitis B, Hepatitis C and HIV as required of me by the
Occupational Safety and Health Administration (OSKA). I understand that this will be done at no cost te me and that all
results will be kept confidential and only disclosed as required by law.

I authorize release of Information the day ofsurgery and for the following 7 days to those known to be involved in my
surgical care (i.e. driver and 24 hour caretaker) and to those listed here:


ADDITIONAL INFORMATION:.




                                                                                                            Revised Jan 05 2015
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FOLLOW-Up:                                                                                                                                                      -n
You will receive a follow up phon‚ call from us afteryour surgery. We will schedule vur routine follow up visits.                                              CD


We are available anytime during office hours to seeyou for immediate concerns. You may reach us at any time by                                                 CI)

calling 1-300-511-6880.                                                                                                                                        J-
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CONSENT ACKNOWLEDGEMENT:                                                                                                        .
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                                                                                                                                                               o
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I understand and will follow the provided instructions knowing that this will improve my outcome and lessen the
possibility of complicatTons.

Mv.slnature attests to the factthat I have fttlly read this entire consentform, that I am a competent adult of at least                                        0-C
18 years of age, that I have had ail questions and concerns answered to my satisfaction, that I understand and agree                                           -L
                                                                                                                                                               o
tothe information contained within and have received a written copy. I assume the risks and complications indicated
and understand there may be unforeseen risks not Included in this consent and wish to proceed with surgery.
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                   Jgure:                                                                                w
Witness_______________________________________


SURGEON ATtESTATION:

As the surgeon, I attestthat the information in this Informed Consent has been discussed with the patient, the patient
has had the opportunity to have any questions or concerns addressed arid that the patTent is a suitable candidate for
liposuction surgery.


Sutgeon Name:                    2_ A 'f-                               \ _ 4.A TT...
     .




Surgeon signature:(J 'Z
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Date:             'ii7jiS                              e:        ()™o




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                                                                                        I 9SL-CCOI 507
                        BROWN LAW OFFICE
                                                March 11, 2019
    Circuit Clerk
    St. Louis County

        RE:      MONICA WEBB ET AL V AESTHETIC PHYSICIANS ET AL
                 EF16279078

    Dear Sir or Madam:

    Please issue summons for each Defendant at the addresses listed below.

    Please attach in PDF form for me to retrieve from Secure Case.Net for service by mail.

              Aesthetic Physicians, P.C.
              do BUSINESS FILINGS INC
              120 S CENTRAL AVE., STE. 200
              Clayton, MO 6310

              Body Contour Centers, LLC
              do CSC-LAWYERS INCORPORATING SERVICE COMPANY
              221 Bolivar Street
              Jefferson City, MO 65101

    Please contact our office -f you have any questions or concerns. Thank you.



                                                                             Yours Truly,



                                                                             David G. Brown




       501 FAY ST, STE 201, COLUMBIA MO 65201 u TEL 573.814.2375 FAX 800.906.6199
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                         IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                     STATE OF MISSOURI

     Monica Webb, et al.,
                   Plain ti:ffs,
                          -V-                     Case No. 19SL-CC01507
     Aesthetic Physicians, P.C., et al.,
                      Defendants.

                      STATUTORY NOTIFICATION TO CLERK OF COURT

        Pursuant to Mo. Rev. Stat. 407.025.7, and there being no form published by the

     clerk for this purpose, Plaintiffs hereby inform the Clerk of the Court:

               (i) That this action is brought pursuant to subsection i of Mo. Rev. Stat.

           407.025; and

               (ii) That such statute requires that Plaintiffs give this notice and provides

           that tt[tjhe clerk ofthe court shall forthwith inform the [Missouri] attorney

           general of the commencement of such action, together with a copy of the

            complaint or other initial pleading, and, upon entry of any judgment or decree

            in the action, the clerk shall mail a copy of such judgment or decree to the

            attorney general.0

     See Exhi bitA.


        Undersigned counsel verifies that he signed the original ofthis pleading.

                                                       Respectfully Submitted By:

                                                        sI David G. Brown
                                                       David G. Brown Mo. Bar #42559
                                                       Brown Law Office
                                                       501 Fay St, Ste 201
                                                       Columbia, MO 65201
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                                                     (573) 814-2375
                                                     dbrown@brown-lawoffice.com

    CERTIFICATE OF SERVICE: I hereby certify that on April 18, 2019, a copy of the
    above was served upon all persons requesting electronic notification by filing it with
    the Court using the CM/ECF system. /s/ David G. Brown
    Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 52 of 79 PageID #: 59
4/10/2019        Missouri Revisor of Statutes - Revised Statutes of Missouri, RSM0 Section 407.025 Civil action to recover damages - class actions auth...




                State of Missouri

   Publications                                   Constitution                                     Committee

   About                                          Help I FAQ                                       Other Links                                       +
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  C         }    Effective 28 Aug 2000
 Title XXVI TRADE AND COMMERCE

       Chapter 407

      407.025. Civil action to recover damages - class actions authorized, when -
   procedure. - 1. Any person who purchases or leases merchandise primarily for
   personal, family or household purposes and thereby suffers an ascertainable loss of
   money or property, real or personal, as a result of the use or employment by another
   person of a method, act or practice declared unlawful by section 407.020, may bring a
   private civil action in either the circuit court of the county in which the seller or lessor
   resides or in which the transaction complained of took place, to recover actual
   damages. The court may, in its discretion, award punitive damages and may award to
   the prevailing party attorney's fees, based on the amount of time reasonably expended,
   and may provide such equitable relief as it deems necessary or proper.
     2. Persons entitled to bring an action pursuant to subsection i of this section may, if
  the unlawful method, act or practice has caused similar injury to numerous other
  persons, institute an actionas representative or representatives of a class against one or
  more defendants as representatives of a class, and the petition shall allege such facts as
  will show that these persons or the named defendants specifically named and served
  with process have been fairly chosen and adequately and fairly represent the whole
  class, to recover damages as provided for in subsection i of this section. The plaintiff
  shall be required to prove such allegations, unless all of the members of the class have
  entered their appearance, and it shall not be sufficient to prove such facts by the
  admission or admissions of the defendants who have entered their appearance. In any
  action brought pursuant to this section, the court may in its discretion order, in
  addition to damages, injunction or other equitable relief and reasonable attorneys fees.
     3. An action may be maintained as a class action in a manner consistent with Rule
  23 of the Federal Rules of Civil Procedure and Missouri rule of civil procedure 52.08 to
revisor.mo.gov/main/OneSection.aspx?sectjon=407.025&bid=23005&hi                                                                                      1/5
    Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 53 of 79 PageID #: 60
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   the extent such state rule is not inconsistent with the federal rule if:
        (1) The class is so numerous that joinder of all members is impracticable;
        (2) There are questions of law or fact common to the class;
      (3) The claims or defenses of the representative parties are typical of the claims or
   defenses of the class; and
      (4) The representative parties will fairly and adequately protect the interests of the
   class; and, in addition
     ( 5) The prosecution of separate action by or against individual members of the class
   would create a risk of:
      (a) Inconsistent or varying adjudications with respect to individual members of the
   class which would establish incompatible standards of conduct for the party opposing
   the dass; or
      (b) Adjudications with respect to individual members of the class which would as a
   practical matter be dispositive of the interests of the other members not parties to the
   adjudications or substantially impair or impede their ability to protect their interests;
   or
      (6) The party opposing the class has acted or refused to act on grounds generally
   applicable to the class, thereby making appropriate final injunctŒve relief or
   corresponding declaratory relief with respect to the class as a whole; or
     (7) The court finds that the questions of law or fact common to the members of the
  class predominate over any questions affecting only individual members, and that a
  class action is superior to other available methods for the fair and efficient adjudication
  of the controversy. The matters pertinent to the findings include:
     (a) The interest of members of the class in individually controlling the prosecution
  or defense of separate actions;
    (b) The extent and nature of any litigation concerning the controversy already
  commenced by or against members of the class;
     (c) The desirability or undesirability of concentrating the litigation of the claims in
  the particular forum;
        (d) The difficulties likely to be encountered in the management of a class action.
     4. (1) As soon as practicable after the commencement of an action brought as a
  class action, the court shall determine by order whether it is to be so maintained. An

revisor.mo.gov/main/OneSectlon.aspx?section=407.025&bid=23005&hI=                                                                                     2/5
    Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 54 of 79 PageID #: 61
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  order pursuant to this subdivision may be conditional, and may be altered or amended
  before the decision on the merits.
     (2) In any class action maintained pursuant to subdivision (7) of subsection 3 of this
  section, the court shall direct to the members of the class the best notice practicable
  under the circumstances, including individual notice to all members who can be
  identified through reasonable effort. The notice shall advise each member that:
     (a) The court will exclude such member from the class if such member so requests
  by a specified date;
      (b) The judgment, whether favorable or not, will include all members who do not
   request exclusion; and
     ( c) Any member who does request exclusion may, if such member desires, enter an
   appearance through such member's counsel.
     (3) The judgment in an action maintained as a class action pursuant to subdivision
  (5) of subsection 3 of this section or subdivision (6) of subsection 3 of this section,
  whether or not favorable to the class, shall include and describe those whom the court
  finds to be members of the class. The judgment in an action maintained as a class
  action pursuant to subdivision (7) of subsection 3 of this section, whether or not
  favorable to the class, shall include and specify or describe those to whom the notice
  provided in subdivision (2) of this subsection was directed, and who have requested
  exclusion, and whom the court finds to be members of the class.
     (4) When appropriate an action may be brought or maintained as a class action
  with respect to particular issues, or a class may be divided into subclasses and each
  subclass treated as a class, and the provisions of this section shall then be construed
  and applied accordingly.
    5. In the conduct of actions to which this section applies, the court may make
  appropriate orders:
    (1) Determining the course of proceedings or prescribing measures to prevent
  undue repetition or complication in the presentation of evidence or argument;
     (2) Requiring, for the protection of the members of the class or otherwise for the fair
  conduct of the action, that notice be given in such manner as the court may direct to
  some or all of the members of any step in the action, or of the proposed extent of the
  judgment, or of the opportunity of members to signify whether they consider the
  representation fair and adequate, to intervene and present claims or defenses, or
  otherwise to come into the action;

revisor.mo.gov/main/OneSectlon.aspx?section=407.025&bid=23005&hl=                                                                                    315
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         (3) Imposing conditions on the representative parties or on intervenors;
      (4) Requiring that the pleadings be amended to eliminate therefrom allegations as
   to representation of absent persons, and that the action proceed accordingly;
         (5) Dealing with similar procedural matters.
     6. A class action shall not be dismissed or compromised without the approval of the
   court, and notice of the proposed dismissal or compromise shall be given to all
   members of the class in such manner as the court directs.
      7. Upon commencement of any action brought pursuant to subsection 1 of this
   section, the plaintiff or plaintiffs shall inform the clerkof the court in which such action
   is brought, on forms. to be provided by such clerk, that the action is brought pursuant
   to this section, The clerk of the coiirt shall forthwith inform the attorney general of the
   commencement of such action, together with a copy of the complaint or other initial
   pleading, and, upOn entry of any judgment or decree in the action, the clerk shall mail
   a copy of such judgment or..decree to the attorney g‚neral.
      8. Any permanent injunction, judgment or order of the court made pursuant to
   section 407.100 shall be prima facie evidence in an action brought pursuant to* this
   section that the respondent used or employed a method, act or practice declared
   unlawful by section 407.020.

   (L.   1973 H.B. 55, A.L. 1985 H.B. 96, et al., A.L. 1999 S.B. 1, et al., A.L. 2000 H.B. 1509)
   *Word "to" does not appear in original rolls.
   (2001) Placing a bet at casino blackjack table is not a purchase within meaning of
   section. Ziglin y. Players MH, L.P., 36 S.W.3d 786 (Mo.App.E.D.).
   (2005) Claim for punitive damages under section requires determination by jury. Scott
   V. Blue Springs Ford Sales, Inc., 176 S.W.3d 140 (Mo.banc).

         < end cf effective 28 Aug 2000 >
      use this link to bookmark section 407.025



                In accordance with Section 3.090, the language of statutory sections enacted during a
 .4             legislative session are updated and available on this website on the effective date of such
                enacted statutory section.

      p. Other Information



revisor.mo.govlmain/OneSectlon.aspx?section=407.025&bid=23005&hl=                                                                                    4/5
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         Other Links

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                        BROWN LAW OFFICE
                                                  May 31, 2019

     Circuit Clerk
     St. Louis County

         RE:     Summons request
                 Case No. 19SL-CCO1SO7
                 MONICA WEBB ET AL V AESTH ETIC PHYSICIANS, P. ET AL


     Dear Sir or Madam:

     Please issue summons for each Defendant at the addresses listed below. Please attach in PDF form for
     me to retrieve from Secure Case,Net for service by mail.

         Aesthetic Physicians, P.C.
         do BUSINESS FILINGS INC
         120 S CENTRAL AVE., STE. 200
         Clayton, MO 63105

         Body Contour Centers, LLC
         do CSC-LAWYERS I NCORPORATING SERVICE COMPANY
         221 Bolivar Street
         Jefferson City, MO 65101

     Please contact our office if you have any questions or concerns. Thank you.




                     501 FAY ST, STE 201, COLUMBIA. MO 65201             TEL 573.814.2375
   Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 58 of 79 PageID #: 65



                  IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                                       Case Number: I9SL-CC01507
 JOHN D WARNER JR
 Plaintiff/Petitioner:                                                    Plaintiff's/Petitioner's Attorney/Address
 MONICA WEBB                                                              DAVID GREGORY BROWN
                                                                          501 Fay Street
                                                                          SUITE 201
                                                                   vs.    COLUMBIA, MO 65201
 Defendant/Respondent:                                                    Court Address:
 AESTHETIC PHYSICIANS, P.C.                                               ST LOUIS COUNTY COURT BUILDING
 DBA: SONO BELLO                                                          105 SOUTH CENTRAL AVENUE
 Nature ofSuit:                                                           CLAYTON, MO 63 1 05
 CC Other Miscellaneous Actions                                                                                                                    (Date File Stamp)
                                                                   Summons in Civil Case
     The State ofMissouri to: BODY CONTOURCENTERS, LLC
                                           Ailas:
                                           DBA: SONO BELLO
  do CSC-LAWYERS INCORPORATING
  SERVICE COMPANY
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101
       COURTSEAL OF           You are summoned to appear before this court and to file your pleading to the petition, a copy of
              ®    u
                                           which is attached, and to serve a copy ofyour pleading upon the attorney for Plaintiff/Petitioner at the
            ,y-__"..‡                      above address all within 30 days after receiving this summons, exclusive ofthe day ofservice. Ifyou fail to
            (:         .
                           )-              file your pleading, judgment by default may be takeii against you for the reliefdemanded in the petition.
              ..'.'-J                           SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabilities Act, please
                                          notify the Office ofthe Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADAcourts.mo.gov,
                                          or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance ofthe court
         ST. LOUJSCOUI'ITY                proceeding.



                                            Further Information:
                                            LG
                                                                         Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
     D   delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     D   leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
          _________________________________________________a person ofthe Delndant's/Respondcnt's family over the age of I 5 years who
          permunently resides with the Defendant/Respondent.
      D  (for service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to
                                                                                           (name) ____________________________________________________(title).

      D    other
    Served at                                                                                                                                              (address)
    in                                               (County/City ofSt. Louis), MO, on                                         (date) at                          (time).

                           Printed Name ofSheriffor Server                                                             Signature ofSheriffor Servcr
                                         Must be sworn before a notary public if not served by an authorized officer:
                                         Subscribed and sworn to before me on                                                          (date).
             (Seal)
                                         My commission expires:
                                                                                    Date                                               Notary Public




OSCA (7-99) SM3O (SMCC) For Coon Use Oit/y: Document ION i 9-SMCC-6180                     I   (Civil Procedure Form No. I , Rules 54.0 1 - 54.05.
                                                                                                                     54. 13, and 54.20; 506. 120 - 506. 140, and 506. ISO RSMo
  Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 59 of 79 PageID #: 66

     Shcriff's Fees, if applicable
     Summons                         s_________________
     NonEst
     Sheriff's Deputy Salary
     Supplemental Surcharge
     Mileage
     Total
                                     $_
                                     s______________
                                           I 0.00
                                     s__________________ (______ miles @ S.______ per mile)
                                     s__________________
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM3O (SMCC) For couri Use Only: Document ID# 19-SMCC-6180     2    (Civil   l'rocedure Form No. I, Rules 54.01 -54.05,
                                                                                                        54.13, and 54.20; 506.120-506.140, and 506.150 RSMo
   Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 60 of 79 PageID #: 67

                              THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                      Twenty First Judicial Circuit


                           NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


Puroose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible.                            A settlement reduces the expense and
inconvenience of litigation. lt also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice
   You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative DisDute Resolution Procedures
   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the "neutral," who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, -s usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



 OSCA (7-99) SM3O (SMCC) For Coz,:! Use Only: Document ID# 19-SMCC-6180   3   (Civil Procedure Form No. 1, Rules 54.0! - 54.05.
                                                                                                    54. 13, and 54.20; 506. I 20 - 506. 140, and 506.150 RSMo
   Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 61 of 79 PageID #: 68

   (3) Early Neutral Evaluation ("ENE"): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is notthe primary purpose ofthis process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the "trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

   A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105.                                                         The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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 Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 62 of 79 PageID #: 69



                        IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

Judge or Division:                                                             Case Number: 19SL-CC01507
JOHN D WARNER JR
Plaintiff/Petitioner:                                                          Plaintiff's/Petitioner's Attorney/Address
MONICA WEBB                                                                    DAVID GREGORY BROWN
                                                                               50 1 Fay Street
                                                                               SUITE 201
                                                                         vs.   COLUMBIA, MO 65201
Defendant/Respondent:                                                          Coult Address:
AESTHETIC PHYSICIANS, P.C.                                                     ST LOUIS COUNTY COURT BUILDING
DBA: SONO BELLO                                                                105 SOUTH CENTRAL AVENUE
Nature ofSuit:                                                                 CLAYTON, MO 63105
CC Other Miscellaneous Actions                                                                                                                             (Date File Stamp)

                                                                             Summons in Civil Case
     The State ofMissouri to: AESTHETIC PHYSICIANS, P.C.
                                                     Alias:
                                                     DBA: SONO BELLO
 do BUSINJSS FILINGS INC
 120 S CENTRALItVE STE 200
 CLAYTON, MO 63105

          COURTSEAL OF                                    You arc summoned to appear before this court and to file your pleading to the petition, a copy of
                    '       u                        which is attached, anti to serve a copy ofyour pleading upon the attorney for Plaintiff/l'etitioner at the
               '                                     above address all within 30 days after receiving this summons, exclusive ofthe day ofservice. Ifyou fail to
               :            .
                                     ;;              file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                   ;4_:         -   $                     SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabilities Act, please
                        s                           notify tite Office of the Circuit Clerk at 3 14-615-8029, FAX 3 14-615-8739, email at SLCADAcourts.mo.gov,
                                                    or through Relay Missouri by dialing 71 1 or 800-735-2966, at least three business days in advance of the court
         sr.        ouiscourvr                      proceeding.
                                                                                                                               ,.9
                                                       Ii-JUL-2019

                                                      Further Information:
                                                      LG
                                                                               Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue,
     I certify that I have served the above summons by: (check one)
     D delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     D leaving a copy oltbe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
          ______________________________________________a person ofthe Defendant's/Respondent's family over the age ofI5 years who
           permanently resides with the Defendant/Respondent.
     D (for service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to
                                                                        -_________________ (name) _________________________________________________(title).
     D other
    Served at                                                                                                                                                      (address)
    in                                                        (County/City ofSt. Louis), MO, on                                        (date) at                          (time).


                                    Printed Name ofSheriffor Server                                                         Signature ofSheriffor Server
                                                    Must be sworn before a notary public ifnot served by an authorized officer:
                                                    Subscribed and sworn to before me on                                                        (date).
                    (Seal)
                                                    My commission expires:
                                                -                                          Date                                                 Notaty Public




OSCA (7-99) SM3O (SMCC) ForConi! (Lee Only: Document ID# 19-SMCC-6179                         I   (Civil   Procedure Form No. t. Rutes 54.01 - 54.05,
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 Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 63 of 79 PageID #: 70


    Sheriff's Fees, if applicable
    Summons                         s__________________
    Non Est                         s_________________
    Sheriff's Deputy Salary
    Supplemental Surcharge          $ _ 10.00
    Mileage                   s___________________ (           miles @ $._______ per mile)
    Total                     s__________________
    A copy of the summons and a copy of the petition must be served on each DefŠndant/Respondent. For methods of service on all classes of
    suits, see Supreme Court Rule 54.




OSCA (7-99) SM3O (SMCC) ParCourt Use Only: Document ID# 19.SMCC-6179     2   (Civil   Procedure Form No. 1, Rules 54.01- 54.05,
                                                                                                     54. 13, and 54.20; 506.120-506.140, and 506.150 RSMo
   Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 64 of 79 PageID #: 71

                                THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                          Twenty First Judicial Circuit


                            NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


PurDose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible.                                 A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
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Your Rights and Obligations in Court Are Not Affected By This Notice
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and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

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   There are several procedures designed to help parties settle lawsuits. Most of these procedures
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resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.
   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.




 OSCA (7-99) SM3O (SMCC) For Court Use OnIj': I)oc,ime,it IDI! I 9.SMCC-6 179   3   (Clvii Procedure Form No. I , Rules 54.0 I - 54.05,
                                                                                                            54. 13, and 54.20; 506. 120 - 506. 140, and 506. I 50 RSMo
  Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 65 of 79 PageID #: 72

   (3) Early Neutral Evaluation ("ENE"): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

   (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
seUlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the "trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

   A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105.                                                       The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You shou!d ask your lawyer for further information.




CCADM73




 OSCA (7-99) SM3O (SMCC) For Courl Use Only: Document ID# 19-SMCC-6179   4   (Clvii Procedure Form No. I , Rules 54.01 - 54.05,
                                                                                                   54. 13, and 54.20; 506.120 - 506. 140, and 506. I 50 RSMo
Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 66 of 79 PageID #: 73



                         BROWN LAW OFFICE
                                                     August 23, 2019

     Circuit Clerk
     St. Louis County

     RE:      19SL-CC01507 - MONICA WEBB ET AL V AESTHETIC PHYSICIANS, P. ET AL

     Dear Sir or Madam:

     The defendants have failed to respond to a request to accept service of the summons and petition by
     mail.



     1. As to defendant Aesthetic Physicians, P.C.: Please proceed with service ofthe summons via the St.
     Louis County Sheriff at the following address:

                                        AESTHETIC PHYSICIANS, P.C.
                                        do BUSINESS FILINGS INC
                                        120 S CENTRAL AVE., STE. 200
                                        CLAYTON, MO 63105

     The service fee is being paid electronically with this filing.


     2. As to defendant Body Contour Centers, LLC: I am arranging service ofsummons by the Cole County
     Sheriff.



     Please contact our office if you have any questions or concerns. Thank you.




           501 FAY ST. ST     201, COLUMBIA MO 65201            TEL 573.814.2375   FAX 800.906.6199
  Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 67 of 79 PageID #: 74



                IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                                    Case Number: I9SL-CCO 1507
 JOHN D WARNER JR
 Plaintiff/Petitioner:                                    .
                                                                       Plaintiff's/Petitioner's Attorney/Address
 MONICA WEBB                                                           DAVID GREGORY BROWN
                                                                       501 Fay Street
                                                                       SUITE 201
                                                                vs.    COLUMBIA, MO 65201                                                           PAID
 Defendant/Respondent:                                                 Court Address:
 AESTHETIC PHYSICIANS, P.C.                                            ST LOUIS COUNTY COURT BUILDING
 DBA: SONO BELLO                                                       105 SOUTH CENTRAL AVENUE
 Nature ofSuit:                                                        CLAYTON, MO 63105
 CC Other Miscellaneous Actions                                                                                                                 (Date Flic Stamp)
                                                                Summons in Civil Case
      The State of Missouri to: AESTHETIC PHYSICIANS, P.C.
                                        Alias:
                                         UBA: SONO BELLO
  do BUSINESS FILINGS INC
  120 S CENrRAL AVE STE 200
  CLAYTON, MO 63105

          COURTSE4L OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                        which is attached, and to serve a copy ofyour pleading upon the attorney for FlaintifflPetitioner at the
                        ,               above address all within 30 days after receiving this summons, exclusive ofthe day ofservice. Ifyou fail to
           ; .‡-.-. .       ;,          file your pleading, judgment by default may be taken against you for the reliefdemanded in the petition.
                                             SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabilities Act, please
                                       notify the Office ofthe Circuit Clerkat3I4.-615-8029, FAX 314-615-8739, email at SLCADArcourts.mo.gov,
                                       or through Relay Missouri by dialing 711 or 800-735-2966, aticast three business days in advance ofthe court
         sr. LOUIS CO UNTY
                                       pro ceeding.
                                          26-AUG-2019
                                           Date
                                         Further Information;

                                                                      Sheriff's or Server's Return
      Note to serving officer: Summons should be returned to the court within thirty days aller the date of issue.
      I certify that I have served the above summons by: (check one)
      D   delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
      D   leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
           _________________________________________________a person ofthe DcIndant's/Rcspoiidcnt's thinily over the age of I 5 years who
           permanently resides with the Defendant/Respondent.
      D   (for service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to
                                                                                     (name)                                                                  (title).
      D other
    Served at                                                                                                                                           (address)
    in                                            (County/City ofSt. Louis), MO, on                                         (date) at                          (time).

                        Printed Name ofSheriffor Server                                                             Signature ofSheriffor Server
                                      Must be sworn before a notary public if not served by an authorized officer:
                                      Subscribed and sworn to before me on                                                          (date).
              'Seal.)
                                      My commission expires:




OSCA (7-99) SM3O (SMCC) For Court Lise Only: Document 11)1/ 19-SMCC-8053             t   (Civil   Procedure Form No. 1, Rules 54,01 - 54.05,
                                                                                                                 54. 13, and 54.20; 506. 120 - 506. 140, and 506. I 50 RSM0
  Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 68 of 79 PageID #: 75

     Sheriff's Fees, if applicable
     Summons                      s_________________
     Non Est                      s_________________
     Sheriff's Deputy Salary
     Supplemental Surcharge       5      10.00
     Mileage                      s___________________ (_______ miles (iJ 5.     per mile)
     Total                        s__________________
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM3O (SMCC) For Court Use Only: Document ID# 19-SMCC-8053    2    (Civil   Procedure Form No. 1, Rules 54.0 I -54.05,
                                                                                                      54.13, and 54.20; 506.120 -506.140, and 506.150 RSM0
  Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 69 of 79 PageID #: 76

                            THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                   Twenty First Judicial Circuit


                         NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice
   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible.                        A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice
   You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures
   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the t'neutral," who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.
    (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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 OSCA (7-99) SM3O (SMCC) For Court Use Only: Document W# 19.SMCC-8053   3   (Civil Procedure Form No. I, Rules 54.01 - 54.05,
                                                                                                  54. 13. and 54.20; 506. I 20 - 506. 140, and 506. I 50 RSMo
   Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 70 of 79 PageID #: 77

   (3) Early Neutral Evaluation ("ENE"): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5 Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the "trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

   If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file, These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

   A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105.                                                         The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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 OSCA (7-99) SM3O (SMCC) For Court Use 01?!)': Document ID# 19.SMCC-8053   4   (Civil Procedure Form No. Rules 54.0 I - 54.05,
                                                                                                     54. 13, and 54.20; 506. 120 - 506. 140, and 506.1 50 RSM0
   Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 71 of 79 PageID #: 78




                 IN TRE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

Judge orDivision:                                                        .    Case Number: 19SL-CC01507
JOHN D WABNER JR
Plaintiff/Petitioner                                                          Plaintiff'sfPetitioner's Attorney/Address
MONICA WEBB                                                 .
                                                                              DAVID GREGORY BROWN
                                                                              501 Pay Street
                                                                              SUITE 201
                                                                        vs.   COLUMBIA, MO 65201
Defendant/Reondent                                                            CourtAddress:
AESTHETIC PHYSICIANS, P.C.                                                    ST LOUIS COUNTY COURT BUILDING
DBA: SONO BELLO                                                               105 SOUTH CENTRAL AVENUE
Nature of Suie                                                                CLAYTON, MO 63105
cc Other Miscellaneous Actions                                                                                                                        (DateFile Stamp)
                                                                         Summons in Civil Case
    The State ofMissouri to: BODY CONTOUR CENTERS, LLC
                                              Alias:
                                              DBA: SONO BELLO
 do CSC-LAWYERS INCORPORATING
 SEVICE COMPANY
 221 BOLWAi STREET                                     .        .

 JEFFERSONCITY,MO 65101
          COURTSF4L OF                              you are summoned to appear before this court and to file your pleading to the petition, a copy of
             .
                          R                   which Is attached, and to serve a copy ofyonr pleading upon the attorney for PlaintifLPe•lioner at the
                                              above address all within 30 days after receiving this summons, exduslve ofthe day ofservice. Ifyon fail to

           sC    .
                 .4.-.

                     ,$
                          -    -              file your pleading, judgment by default may be taken againstyou for the relief demanded •z the petition.
                                                    SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabilities Act, please
                                             notii' the Office ofthe 1rcuit Clerkat 314-615-8029, FAX 314-615-8739, email at SLCADA1courts.mo.gov,
                                             or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days In advance ofthe court
         ST. LOWS COUNTY                     proceeding.
                                                                                                                            19
                                                18-SEP-2019

                                               5irther Information:
                                               cD
                                                                              Sheriffs or Server's Return
     Noto to serving officer: Summons should be returned to the courtwithin thirty days aller the dale of issue.
     I ccrtii that I have served the above summons by: (check one)
     D    delivering a copy ofthe summons and a copy ofthepetition to the Defendant/Respondent.
     D    leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthc Defendant/Respondent with
             .
                                                                   aperson ofthe Defendant's/Respondent's family over the age oflS years who
        .  permanently resides with the Defendant/Respondent
     D    (for service on a cosporation) delivering a copy ofthe summons and a copy ofthe petition to
           ____________________________________________(name)                                                                                                     (title).

     D     other                         .                                                                                                             .




    Served at                                                       .                                                 .                                      (address)
    in                                            .        (County/City ofSt. LoWs), MO, on                                       (date) at                         (time).


                              PrintedNanie ofShcrifforScrvcr                                                              Signature of Sheriff or Server
                                             Must be sworn before a notary public ifnot served by an authorized officer:
                                             Subscribed and sworn to before me on                                                          (date).
                 (Seal)
                                             My commission expires:




OSCA (7-99) 5M30 (SMCC)For CourS Use Only DocumentllJ# 19-SMCC-8737                         i    (Civil Procedure FoxmNo. 1, Rules 54.01 -54.05,
                                                                                                                      54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 72 of 79 PageID #: 79                               m
                                                                                                              (D
                                                                                                              o
                                                                                                              3

               BROWN LAW OFFICE LC                                                                            C)
                                                                                                              O)



                                                                                                              -rl

                                                                                                              CD
                                                                                                              Q-
                                              September 16, 2019
                                                                                                              ¨I,

                                                                                                              I-
 St. Louis County Circuit Clerk                                                                               o
                                                                                                              (n
 Via efile
                                                                                                              o
                                                                                                              o
         RE:      19SL-CC01507
                  MONICA WEBB ET ALV AESTHETIC PHYSICIANS, P. ETAL                                            C)
                                                                                                              CD
                                                                                                              -o
                                                                                                              CD
 Dear Sir or Madam:                                                                                           3
                                                                                                              o-
                                                                                                              CD

                                                                                                              -s
 Our office is representing the Plaintiff in the above-referenced case, which was previously filed            a)
                                                                                                              M
 Pursuant to Rule 54.01(d), please issue an alias summons, for service by the sheriff of Cole                 CD

 County, to the following:                                                                                    o
                                                                                                              -s
                                                                                                              (Ji

                  Defendant, Body Contour Centers, LLC d/b/a "Sono Bello"
                 do Registered Agent CSC-LAWYERS INCORPORATING SERVICE COMPANY
                 221 Bolivar Street
                 Jefferson City, MO 65101

 Please let me know if you have any questions or concerns. Thank you.



                                                                     Respectfully Submitted By:

                                                                     /5/ David G. Brown
                                                                     David G. Brown Mo. Bar #42559
                                                                     Brown Law Office
                                                                     501 Fay St, Ste 201
                                                                     Columbia, MO 65201
                                                                     (573) 814-2375
                                                                     dbrown@brown-Iawoffice.com




   501 FAY ST, STE 201, COLUMBIA, MO 65201   TEL (573) 814-2375 FAX (800) 906-6199 www.brown-law-offlce.com
Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 73 of 79 PageID #: 80



               BROWN LAW OFFICE LC
                                               September 16, 2019

 St. Louis County Circuit Clerk
 Via efile



         RE:      19SL-CC01507
                  MONICA WEBB ET AL V AESTHETIC PHYSICIANS, P. ET AL

 Dear Sir or Madam:

 Our office is representing the Plaintiff in the above-referenced case, which was previously filed.

 Pursuant to Rule 54.01(d), please issue an alias summons, for service by the sheriff of Cole
 County, to the following:

                  Defendant, Body Contour Centers, LLC d/b/a "Sono Bello"
                  do Registered Agent CSC-LAWYERS INCORPORATING SERVICE COMPANY
                  221 Bolivar Street
                  Jefferson City, MO 65101

 Please let me know if you have any questions or concerns. Thank you.



                                                                         Respectfully Submitted By:

                                                                         -sI David G. Brown
                                                                         David G. Brown Mo. Bar #42559
                                                                         Brown Law Office
                                                                         501 Fay St, Ste 201
                                                                         Columbia, MO 65201
                                                                         (573) 814-2375
                                                                         dbrown@ brown-Iawoffice.com




   501 FAY ST, STE 201 , COLUMBIA, MO 65201   TEL (573) 81 4-2375 FAX 1800) 906-61 99   www.brown-Iaw-office.com
           Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 74 of 79 PageID #: 81


                     IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 19SL-CCO 1507
 JOHN D WARNER JR
 Plaintiff/Petitioner:                                              Plaintiff's/Petitioner's Attorney/Address
 MONICA WEBB                                                        DAVID GREGORY BROWN
                                                                    50 1 Fay Street
                                                                    SUITE 201
                                                             vs.    COLUMBIA, MO 65201
 Defendant/Respondent:                                              Court Address:
 AESTHETIC PHYSICIANS, P.C.                                         ST LOUIS COUNTY COURT BUILDING
 DBA: SONO BELLO                                                    105 SOUTH CENTRAL AVENUE
 Nature ofSuit:                                                     CLAYTON, MO 63105
 CC Other Miscellaneous Actions                                                                                                                   (Date File Stamp)
                                                                 Summons in Civil Case
     The State ofMissouri to: BODY CONTOUR CENTERS, LLC
                                         Alias:
                                         DBA: SONO BELLO
  do CSC-LAWYERS INCORPORATING
  SEVICE COMPANY
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101
          COURTSEAL OF                         You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                                 is attached, and to serve a copy ofyour pleading upon the attorney for Plaintiff/Petitioner at the

          (which
            ?

           -.
                .
                ..




                     ii2e
                         - i
                                         above address all within 30 days after receiving this summons, exclusive ofthe day ofservice. Ifyou fail to
                                         file your pleading, judgment by default may be taken against you for the reliefdemanded in the petition.
                                              SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabilities Act, please
                                        notify the Office ofthe Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                        or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance ofthe court
         ST. LOUIS COUNTY
                                        proceeding.
                                           18-SEP-2019
                                            Date
                                          Further Information:

                                                                   Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certif,' that I have served the above summons by: (check one)
     E: delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
     Ei leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthe Defendant/Respondent with
           ________________________________________________a person ofthe Defendant's/Respondent's family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to
                                                                                     (name)
           other
    Served at                                                                                                                                              (address)
    In                                             (County/City ofSt. Louis), MO, on                                          (date) at                           (time).

                         Printed Name ofSheriffor Server                                                           Signature ofSheriffor Server
                                       Must be sworn before a notary public ifnot served by an authorized officer:
                                       Subscribed and sworn to before me on                                                            (date).
                (Seal)
                                       My commission expires:
                                                                              Date




OSCA (7-99) SM3O (SMCC) For Court Use Only: Document ID# 19-SMCC-8737                I   (Civil   Procedure Form No. I, Rules 54.01 - 54.05,
                                                                                                                  54. 13,   and 54.20; 506. 120 - 506. 140, and 506. 1 50 RSMo
         Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 75 of 79 PageID #: 82

      Sheriff's Fees, if applicable
      Summons                         $_________________
      Non Est                         $__________________
      Sheriff's Deputy Salary
      Supplemental Surcharge          $     10.00
      Mileage                         $_________________ L        miles c $.______ per mile)
      Total                     $__________________
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.




OSCA (7-99) SM3O (SMCC) For court Use Only: Document ID# 19-SMCC-8737   2    (Civil Procedure Form No. I, Rules 54.01 -54.05,
                                                                                                   54.13, and 54.20; 506.120 -506.140, and 506.150 RSMo
          Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 76 of 79 PageID #: 83

                              THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                      Twenty First Judicial Circuit


                           NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


PurDose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. lt also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice
    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the "neutral," who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

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promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) 5M30 (SMCC) For Cour: Use Onlj': Document ID# 19-SMCC-8737   3   (Civil Procedure Form No. I , Rules 54.0 I - 54.05,
                                                                                                   54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
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   (3) Early Neutral Evaluation ("ENE"): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the "trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM3O (SMCC) For Court Use Only: Document ID 19-SMCC-8737   4   (Clvii Procedure Form No. I. Rules 54.01 - 54.05,
                                                                                                 54. 13, and 54.20; 506. 1 20 - 506. 140, and 506. ISO RSMo
          Case: 4:19-cv-02712-DDN Doc. #: 1-1 Filed: 10/04/19 Page: 78 of 79 PageID #: 85


                            IN TH1IT'JUM&AL CIRCUIT COURT, ST. LOUIS COUNTY,


  Judge or Division:                                                     I Case Number: 19SL-CCO 1507
  JOHN D WARNER JR
  PIainfif'Petitioner;                                                    PlaintifFs/Petitioner's Attorney/Address
  MONICA WEBB                                                             DAVID GREGORY BROWN
                                                                          501 Fay Street
                                                                          SUITE2O1                                                                  r SHERIFF FEE7
                                                                   vs.    COLUMBIA, MO 65201                                                                 PAID
                                                                                                                                                    L                               j
  Defendant/Respondent:                                                   Court Address:
   AESTHETIC PHYSICIANS, P.C.                                             ST LOUIS COUNTY COURT BUILDING
  DBA: SONO BELLO                                                         105 SOUTH CENTRAL AVENUE
  Nature ofSuit:                                                          CLAYTON, MO 63105
  CC Other Miscellaneous Actions                                                                                                       g                        File
                                                                   Summ”ns in Civil Case
         The State ofMissouri to: AESTHETIC PHYSICIANS, P.C.
                                            Allas:                                                                                              o 2019
                                            DBA: SONO BELLO
   do BUSINESS FILINGS rNC
   120 S CENTRAL AVE STO0
   CLAYFON, MO 63105

          COURTSEA.L OF                           You are summoned to appear before this court and to file your plea ing to th petition, a copy of
                  s
                                            which is attached, and to serve a copy ofyour pleading upon the attorne; for Plainlif&Petitioner at the
                                            above address all within 30 days alter receiving this summons, exclusive f the day of service. 1f you fail to
              .



                                   :        file your pleading, judgment by default may be taken against you for the elief demanded in the petition.
                        .      .
                                                  SPECIAL NEEDS: lfyou have special needs addressed by the Ame tcans Wii:h Disabilities Act, please
          .                                nolif:y the Office of the Circuit Clerk at 314-615-8029, FAX 314.615-8739, mail at SLCADAcourts.mo.gov,
                                           or through Relay Missouri by dialing 711 or 800-735_2966, at least three i siness daysinadvance of the court
         ST. LOUIS COUNTY
                                           proceeding.                                                           il
                                              26-AUG-2019
                                              Date
                                            Further Information:

                                                                                 or
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I cefli1t that I have served the above summons by: (check one)                                                               .




      E delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent
      D leaving a copy ofthc summons and a copy ofthe petition at the dwelling place or usual abode ofthe Dcfndant/Res                                   t with
          _____________________________________________a person ofthe Defendant's/Respondent's famil' over the a                                         15 years who
          permanently resides with the Defendant/Respondent.                                                                   I




    _-f” r service on a corporation) delive      copy ofthe summons and a copy ofthe petition to
                                                               a1 iov                     (name)                     NTAJ              !PtCIALI$T
      E Other
    Served at
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                                                                                                                                            Cj
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    in                                               (County/City ofSt. Louis), MO, on             SEP 2 _ 0 _ 2                                                          (time).
                            William        3it_
                               D•3ttilnb1liltfor Server                                                              Sig
                                          Must be sworn before a notary. public if not served by an authorized office                           c        -
                                          Subscribed and sworn to before me on_______________________________
                      (Seal)
                                          My commission expires:
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                                                                                  Date                                                     Notaiy Publie i.!)




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